Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 1 of 127




                        EXHIBIT 3
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 2 of 127

                                                                    CHART A
       Huawei Technologies America, Inc. (“Huawei”) infringes the Patents-in-Suit by the “Huawei-Google Calling System.” The Huawei-Google
Calling System includes desktop computers, laptops, tablets, smartphones, and other mobile devices as well as enterprise to small office-home office
level telephony hardware, software, and/or cloud-based services manufactured and supported by Huawei and used by Google LLC (“Google”). The
Huawei-Google Calling System actively encourages and enables users of Huawei devices to participate in mobile telephone roaming as described in
U.S. Patent No. 8,630,234 (hereinafter the ‘234 Patent) and set forth in the asserted claims.

       In the Huawei-Google Calling System, for example, users of Huawei smartphones and other mobile devices are encouraged and enabled to
send messages including text, images, video and audio to others using Huawei hardware, firmware, configuration data, and/or Voice over WiFi
(VoWiFi) software applications developed by Huawei for supported Huawei devices to communicate with Google-Fi owned and operated by Google
LLC (hereinafter “Google”). Huawei has actively encouraged and enabled users of Huawei smartphones and other mobile devices having Huawei
hardware, firmware, configuration data, and/or VoWiFi client software applications to use Google-Fi to make VoWiFi calls, for example, to use
VoWiFi on Google-Fi as a voice and/or video calling feature incorporating techniques described in the ‘234 Patent. Additionally, Huawei has
actively encouraged and enabled Google to use one or more communication networks, one or more servers, one or more services, and/or one or more
other resources associated with a Google VoWiFi server infrastructure and running one or more Google VoWiFi server software applications to
implement setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and/or video calls) communication to and from the
supported Huawei devices using the Huawei hardware, firmware, configuration data, and/or VoWiFi client software applications. Huawei has
actively encouraged and enabled Google to use the Google VoWiFi server software applications running on servers owned and/or operated by
Google to enable VoWiFi for Huawei devices with a voice and/or video calling feature incorporating techniques described in the ‘234 Patent.

       Moreover, in the Huawei-Google Calling System, for example, users of Huawei smartphones and other mobile devices are encouraged and
enabled to send messages including text, images, video and audio to others using one or more Google Internet-based calling client software
applications (e.g., Google Voice/Hangouts/Duo) developed by Google for supported Huawei devices. Huawei has actively encouraged and enabled
users of Huawei smartphones and other mobile devices having the Google Internet-based calling client applications to use Google to make Internet-
based calls and, for example, to use voice over IP (VoIP), session initiation protocol (SIP), and/or other real-time communication protocols as a voice
and/or video calling feature incorporating techniques described in the ‘234 Patent. . Additionally, Huawei has actively encouraged and enabled
Google to use one or more communication networks, one or more servers, one or more services, and/or one or more other resources associated with a
1
                                   Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 3 of 127

                                                                     CHART A
Google Internet-based calling server infrastructure running one or more Google Internet-based calling server software applications to implement
setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and/or video calls) communication to and from the supported
Huawei devices using the Google Internet-based calling client software applications. Huawei has actively encouraged and enabled Google to use the
Google Internet-based calling server software applications running on servers owned and operated by Google to enable Internet-based calling for
Huawei devices with a voice and/or video calling feature incorporating techniques described in the ‘234 Patent.

       Chart A applies independent claim 20 of the ‘234 Patent to the Huawei-Google Calling System.

       Chart A demonstrates that, in the Huawei-Google Calling System, Huawei actively encourages and enables Huawei devices and Google to
produce an access code based on a location identifier and/or based on a location pre-associated with a mobile telephone and which is used by the
mobile telephone to initiate a call as described in the ‘234 Patent and defined in the asserted claims, literally and/or under the doctrine of equivalents.
In the Huawei-Google Calling System, for example, Huawei actively encourages and enables Huawei devices and Google to produce an access code
comprising one or more portions and/or a combination of information, for example, an access code comprising information identifying one or more
Internet Protocol (IP) network addresses associated with one or more calling servers and/or call session information obtained via one or more calling
servers. Either individually or in combination, the IP network addresses associated with the calling servers and/or the call session information, for
example, identify a communications channel usable by the mobile telephone to cause a routing controller (e.g., one or more calling servers) to
establish a call to a callee using the channel. Thus, Huawei has actively encouraged and enabled Huawei devices and Google to enable mobile
telephone roaming using the access code as described in the ‘234 Patent and defined in the asserted claims, literally and/or under the doctrine of
equivalents.

       Chart A uses one scenario of infringement as an example to demonstrate how elements of the asserted claims read on the use of a domain
name system (DNS) associated with the Huawei-Google Calling System to produce one or more portions and/or combinations of information
representing an access code that is based on a location identifier and/or based on a location pre-associated with the mobile telephone and that
identifies one or more Internet Protocol (IP) network addresses associated with one or more calling server and/or call session information obtained
via the one or more calling servers to enable mobile telephone roaming as described in the ‘234 Patent and defined in the asserted claims, literally
and/or under the doctrine of equivalents. The scenario set forth in Chart A using DNS is one example made without limitation to one or more

2
                                 Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 4 of 127

                                                                  CHART A
additional scenarios of infringement, which may be described in other charts using at least some of the components and/or processes associated with
the Huawei-Google Calling System already identified in Chart A, further demonstrating how the asserted claims read, literally and/or under the
doctrine of equivalents, on the Huawei-Google Calling System.




3
                                 Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 5 of 127

                                                                CHART A
                                                          U.S. Patent No. 8,630,234
20.   [20p] A mobile telephone      The Huawei-Google Calling System includes a mobile telephone apparatus.
      apparatus comprising:
                                    In the Huawei-Google Calling System, for example, roaming with a mobile telephone as described in the
                                    ‘234 Patent and defined in the mobile telephone apparatus of claim 20 (e.g., a caller’s mobile telephone) is
                                    performed, literally and/or under the doctrine of equivalents, by the caller’s mobile telephone, an example of
                                    which includes a Huawei device configured with:
                                       •   The Huawei hardware, firmware, configuration data, and/or VoWiFi software applications to
                                           communicate with the Google VoWiFi server infrastructure running one or more of the Google
                                           VoWiFi calling server software applications associated with Google-Fi; and/or
                                       •   One or more of the Google Internet-based calling client software applications to communicate with
                                           the Google Internet-based calling server infrastructure running one or more of the Google Internet-
                                           based calling server software applications associated with the Google Internet-based calling products.
                                    In the Huawei-Google Calling System, for example, the caller’s mobile telephone communicates with the
                                    Google server infrastructure (whether the Google-Fi VoWiFi server infrastructure or the Google Internet-
                                    based calling server infrastructure), an example of which includes:
                                       •   One or more domain name system (DNS) servers associated with the Google server infrastructure.
                                           The DNS servers provide a naming system for one or more communication networks, one or more
                                           servers, one or more services, and/or other resources associated with the Google server infrastructure.
                                           The DNS servers include one or more parts and/or portions of the Google server software applications
                                           (whether the Google VoWiFi server software and/or the Google Internet-based calling server software
                                           applications) developed and/or owned by Google to implement setup, routing, and delivery of non-
                                           real time (e.g., messages) and real time (e.g., voice and video calls) communication to and from
                                           supported Huawei devices. The DNS servers associate domain names used by the Huawei devices

4
    Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 6 of 127

                                    CHART A
              with various information (such as IP network addresses) that provide access to the communication
              networks, servers, services, and/or other resources associated with the Google server infrastructure.
          •   One or more calling servers associated with the Google server infrastructure. The calling servers
              provide setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and
              video calls) communication to and from supported Huawei devices (whether using the Huawei
              hardware, firmware, configuration data, and/or VoWiFi software applications and/or the Google
              Internet-based calling client software applications). The calling servers include one or more parts
              and/or portions of the Google server software applications developed and/or operated by Google to
              provide access to the Huawei devices to exchange messages (including chats, group chats, images,
              videos, voice messages and files) and make calls (voice and video) around the world.


       In the Huawei-Google Calling System, for example, roaming with a mobile telephone is performed when
       Huawei actively encourages and causes the caller’s mobile telephone and the Google server infrastructures to
       communicate to produce an access code based on a location identifier and/or based on a location pre-
       associated with the mobile telephone and which is used by the mobile telephone to initiate a call as described
       in the ‘234 Patent and defined in claim 20, literally and/or under the doctrine of equivalents. In the Huawei-
       Google Calling System, for example, the caller’s mobile telephone starts a call (whether a VoWiFi call using
       the Huawei hardware, firmware, configuration data, and/or VoWiFi software application and/or an Internet-
       based call using the Google Internet-based calling client software applications). The caller’s mobile
       telephone establishes communication with the Google server infrastructure and initiates the call to one or
       more devices and/or destinations (e.g., a callee’s mobile telephone). Huawei has actively encouraged and
       enabled roaming with a mobile telephone using Huawei devices and Google to make VoWiFi and/or Internet-
       based calls as described in the ‘234 Patent and defined in claim 20, literally and/or under the doctrine of
       equivalents.

5
                                 Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 7 of 127

                                                                CHART A

    [20a] a processor circuit;      The Huawei-Google Calling System includes a mobile telephone apparatus comprising a processor circuit. In
                                    the Huawei-Google Calling System, for example, the caller’s mobile telephone includes and/or performs this
                                    element to use the Huawei hardware, firmware, configuration data, and/or VoWiFi software application
                                    and/or the Google Internet-based calling client software applications to establish communication with the
                                    Google server infrastructure and initiate the VoWiFi and/or Internet-based call to the callee’s mobile
                                    telephone.


                                    In the Huawei-Google Calling System, for example, the caller’s mobile telephone includes a processor
                                    circuit. One example of the caller’s mobile telephone is the Huawei Nexus 6p (“Nexus 6p”) manufactured
                                    specifically and exclusively for Google, which includes, as part of the processor circuit, a Qualcomm
                                    Snapdragon 810 v2.1, 4x ARM Cortex-A57 MPcore + 4x ARM Cortex-A53 MPcore using an ARMv8-A
                                    (A32, A64) architecture. While the Nexus 6P is discussed in some detail in this chart, Google’s support
                                    website indicates that there are other Huawei models compatible with at least Google-Fi including: Honor 8,
                                    Mate 10 Pro, Mate 20, Mate 20 Pro and 20 Lite, P20 and P20 Pro, each of which would contain a processor
                                    circuit. See: https://support.google.com/fi/answer/6224695#zippy=%2Chuawei-models-compatible-with-fi




6
                              Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 8 of 127

                                                                CHART A




                                   https://www.ifixit.com/Teardown/Nexus+6P+Teardown/51660.


    [20b] a network interface in   The Huawei-Google Calling System includes a mobile telephone apparatus comprising a network interface in
    communication with said        communication with said processor circuit. In the Huawei-Google Calling System, for example, the caller’s
    processor circuit; and         mobile telephone includes and/or performs this element to use the Huawei hardware, firmware, configuration
                                   data, and/or VoWiFi software application and/or the Google Internet-based calling client software
                                   applications to establish communication with the Google server infrastructure and initiate the VoWiFi and/or
                                   Internet-based call to the callee’s mobile telephone.


                                   In the Huawei-Google Calling System, for example, the caller’s mobile telephone includes a network
                                   interface in communication with the processor circuit. For example, the caller’s mobile telephone includes
                                   the following network interfaces:

7
    Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 9 of 127

                                    CHART A
       FDD‑LTE (Bands 1, 2, 3, 4, 5, 7, 8, 12, 13, 14, 17, 18, 19, 20, 25, 26, 29, 30, 66, 71)
       TD‑LTE (Bands 34, 38, 39, 40, 41, 42, 46, 48)
       CDMA EV‑DO Rev. A (800, 1900 MHz)
       UMTS/HSPA+/DC‑HSDPA (850, 900, 1700/2100, 1900, 2100 MHz)
       GSM/EDGE (850, 900, 1800, 1900 MHz)
       Gigabit-class LTE with 2x2 MIMO and LAA4
       802.11 Wi‑Fi
       Bluetooth wireless technology


       For the Nexus 6p, the network interface includes the Qualcomm WTR3925 RF transceiver. The network
       interface further includes the Broadcom BCM4358 5G WiFi 802.11ac client.




       https://www.ifixit.com/Teardown/Nexus+6P+Teardown/51660.




8
                               Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 10 of 127

                                                               CHART A
    [20c] a computer readable      The Huawei-Google Calling System includes a mobile telephone apparatus comprising a computer readable
    medium in communication        medium in communication with said processor circuit and encoded with codes for directing said processor
    with said processor circuit    circuit. In the Huawei-Google Calling System, for example, the caller’s mobile telephone includes and/or
    and encoded with codes for     performs this element to use the Huawei hardware, firmware, configuration data, and/or VoWiFi software
    directing said processor       application and/or the Google Internet-based calling client software applications to establish communication
    circuit to:                    with the Google server infrastructure and initiate the VoWiFi and/or Internet-based call to the callee’s mobile
                                   telephone.


                                   In the Huawei-Google Calling System, for example, the caller’s mobile telephone includes a computer
                                   readable medium in communication with the processor circuit and encoded with codes for directing the
                                   processor circuit. The computer readable medium includes volatile memory, such as random-access memory
                                   (RAM). The computer readable medium also includes non-volatile memory, such as flash memory, to hold
                                   OS and application data.


                                   For the Nexus 6p, the computer readable medium includes the Micron MT53B384M64D4NK-062 3 GB
                                   LPDDR4 RAM and the Samsung KLMBG4GEND-B031 32 GB eMMC 5.0 NAND flash.




9
                                Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 11 of 127

                                                                  CHART A




                                     https://www.ifixit.com/Teardown/Nexus+6P+Teardown/51660.


     [20d] receive, from a user of   The Huawei-Google Calling System includes a mobile telephone apparatus that receives, from a user of the
     the mobile telephone, a         mobile telephone, a callee identifier associated with the callee. In the Huawei-Google Calling System, for
     callee identifier associated    example, the caller’s mobile telephone includes and/or performs this element to use the Huawei hardware,
     with the callee;                firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-based calling
                                     client software applications to establish communication with the Google server infrastructure and initiate the
                                     VoWiFi and/or Internet-based call to the callee’s mobile telephone.


                                     In the Huawei-Google Calling System, for example, composing a message or initiating the call begins with a
                                     user entering or selecting a callee identifier associated with a callee with which the user wishes to
                                     communicate. In the Huawei-Google Calling System, for example, the user input, which may comprise a

10
                                Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 12 of 127

                                                                 CHART A
                                    partial or complete name, email address, telephone number, or device identifier, is input directly and/or
                                    indirectly into a contact list search box, on a touch screen displaying contacts, and/or via voice command to
                                    obtain the callee identifier. In the Huawei-Google Calling System, for example, the user input associated with
                                    the caller’s mobile telephone comprises one or more email addresses, device identifiers, and/or telephone
                                    numbers associated with the callee with which the user wishes to communicate. In the Huawei-Google
                                    Calling System, for example, the caller’s mobile telephone uses the Huawei hardware, firmware,
                                    configuration data, and/or VoWiFi software application and/or the Google Internet-based calling client
                                    software applications to obtain the email addresses, device identifiers, and/or telephone numbers associated
                                    with the callee with which the user wishes to communicate from the user input associated with the caller’s
                                    mobile telephone.


                                    Individually or in combination with other information, the caller’s mobile telephone using the Huawei
                                    hardware, firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-
                                    based calling client software applications to obtain the email address, the device identifier, and/or the
                                    telephone number are examples of receiving the callee identifier associated with the callee as set forth in this
                                    element. Alternatively or in addition, the callee identifier could be a user name associated with the callee.


     [20e-1] cause an access code   The Huawei-Google Calling System includes a mobile telephone apparatus that causes an access code
     request message to be          request message to be transmitted to an access server. In the Huawei-Google Calling System, for example,
     transmitted to an access       the caller’s mobile telephone includes and/or performs this element to use the Huawei hardware, firmware,
     server                         configuration data, and/or VoWiFi software application and/or the Google Internet-based calling client
                                    software applications to establish communication with the Google server infrastructure and initiate the
                                    VoWiFi and/or Internet-based call to the callee’s mobile telephone.



11
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 13 of 127

                                     CHART A
         In the Huawei-Google Calling System, for example upon obtaining the user name, email addresses, device
         identifiers, and/or the telephone numbers associated with the callee, the caller’s mobile telephone
         communicates (or causes to be communicated) an access code request message to an access server. In the
         Huawei-Google Calling System, for example, the caller’s mobile telephone communicates (or causes to be
         communicated) an access code request message comprising one or more parts, portions, and/or a
         combinations of information, such as information associated with the access code request message using one
         or more communications and/or a combination of communications with the Google server infrastructure, for
         example, one or more access servers associated with the Google server infrastructure:
            •   In one or more communications and/or a combination of communications associated with causing an
                access code request message to be transmitted to an access server, the caller’s mobile telephone
                transmits (or causes to be transmitted) the communications and/or the combination of
                communications associated with the caller’s mobile telephone with one or more of the DNS servers
                associated with the Google server infrastructure. In the Huawei-Google Calling System, for example,
                the caller’s mobile telephone communicates (or causes to be communicated) the communications
                and/or the combination of communications with the DNS servers as one or more of the parts,
                portions, and/or a combination of information associated with the access code request message. In the
                Huawei-Google Calling System, for example, the DNS servers provide access to one or more parts
                and/or portions of the Google server software applications (whether the VoWiFi and/or Google
                Internet-based calling server software applications). In the Huawei-Google Calling System, for
                example, the DNS servers provide access to a naming service associated with one or more
                communication networks, one or more servers, one or more services, and/or one or more other
                resources associated with the Google server infrastructure and used by Huawei devices to exchange a
                message or setup and initiate a VoWiFi and/or an Internet-based call. In the Huawei-Google Calling
                System, for example, the caller’s mobile telephone communicates (or causes to be communicated)

12
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 14 of 127

                                    CHART A
               information requesting the DNS servers to provide access to the communication networks, the
               servers, the services, and/or the other resources associated with the Google server infrastructure to
               exchange a message or setup and initiate a VoWiFi and/or an Internet-based call. In the Huawei-
               Google Calling System, for example, the caller’s mobile telephone communicates (or causes to be
               communicated) information requesting the DNS servers to provide access to exchange a message or
               setup and initiate a VoWiFi and/or an Internet-based call) using one or more packets produced (or
               caused to be produced) by the caller’s mobile telephone. In the Huawei-Google Calling System, for
               example, the caller’s mobile telephone produces (or causes to be produced) the packets and
               communicates (or causes to be communicated) the packets directly and/or indirectly with the DNS
               servers. In the Huawei-Google Calling System, for example, the caller’s mobile telephone produces
               (or causes to be produced) the packets including one or more DNS queries that query the DNS servers
               for one or more IP network addresses associated with one or more of the calling servers. In the
               Huawei-Google Calling System, for example, the caller’s mobile telephone communicates (or causes
               to be communicated) at least one DNS query asking the DNS servers for the IP network addresses
               associated with the calling servers geographically situated relative to the caller’s mobile telephone
               based on the location associated with the caller’s mobile telephone. In the Huawei-Google Calling
               System, for example, the caller’s mobile telephone communicates (or causes to be communicated) at
               least one DNS query using one or more domain names associated with the Google server
               infrastructure to obtain the IP network addresses associated with the geographically situated calling
               servers. In the Huawei-Google Calling System, for example, one or more domain names and one or
               more blocks of IP network addresses are used by the Huawei hardware, firmware, configuration data,
               and/or VoWiFi software application and/or the Google Internet-based calling client software
               applications to obtain the IP network addresses associated with the geographically situated calling
               servers. Appendix A sets forth one or more domain names and one or more blocks of IP network

13
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 15 of 127

                                     CHART A
                addresses and details that, based on a location associated with an initiated device, one or more
                communications to the DNS servers using the domain names result in obtaining one or more IP
                network addresses associated with geographically situated calling servers.
            •   In the Huawei-Google Calling System, for example as an alternative to the caller’s mobile telephone
                communicating (or causing to be communicated) one or more packets with one or more of the DNS
                servers associated with the Google server infrastructure, the caller’s mobile telephone obtains one or
                more IP network addresses associated with one or more of the calling servers using a database or local
                cache. For example, the caller’s mobile telephone maintains the database or local cache in response to
                obtaining the IP network addresses associated with calling servers in one or more prior
                communications with the DNS servers. For example, the caller’s mobile telephone accesses the
                database or local cache to obtain the IP network addresses associated with the calling servers to
                exchange a message or setup and initiate a VoWiFi and/or Internet-based call.
            •   In one or more communications and/or a combination of communications associated with causing an
                access code request message to be transmitted to an access server, the caller’s mobile telephone
                transmits (or causes to be transmitted) the communications and/or the combination of
                communications with one or more of the calling servers associated with the Google server
                infrastructure. In the Huawei-Google Calling System, for example, the caller’s mobile telephone
                communicates (or causes to be communicated) the communications and/or the combination of
                communications with the calling servers as one or more of the parts, portions, and/or a combination of
                information associated with the access code request message. In the Huawei-Google Calling System,
                for example, the calling servers provide access to one or more parts and/or portions of the Google
                server software applications (whether the VoWiFi and/or Google Internet-based calling server
                software applications). In the Huawei-Google Calling System, for example, the calling servers
                provide access to a calling service to exchange messages (including chats, group chats, images,

14
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 16 of 127

                                    CHART A
               videos, voice messages and files) and make VoWiFi and/or Internet-based calls (voice and video) via
               the communication networks, the servers, the services, and/or the other resources associated with the
               Google server infrastructure. In the Huawei-Google Calling System, for example, the caller’s mobile
               telephone communicates (or causes to be communicated) information requesting the calling servers to
               provide access to exchange a message or setup and initiate a VoWiFi and/or an Internet-based call. In
               the Huawei-Google Calling System, for example, the caller’s mobile telephone communicates (or
               causes to be communicated) information requesting the calling servers to provide access to exchange
               a message or setup and initiate a VoWiFi and/or an Internet-based call using one or more packets
               produced (or caused to be produced) by the caller’s mobile telephone. In the Huawei-Google Calling
               System, for example, the caller’s mobile telephone produces (or causes to be produced) the packets
               and communicates (or causes to be communicated) the packets with the calling servers. In the
               Huawei-Google Calling System, for example, the caller’s mobile telephone produces (or causes to be
               produced) the packets including one or more call session information requests that ask the calling
               servers geographically situated relative to the caller’s mobile telephone for call session information.
               In the Huawei-Google Calling System, for example, the caller’s mobile telephone communicates (or
               causes to be communicated) at least one call session information request for call session information
               to select and connect to a calling gateway, establish signaling, establish a media port, provide
               connectivity negotiation with the calling gateway and/or the callee’s mobile telephone using peer-to-
               peer using protocols such as ICE/STUN/TURN, and initiate via the calling gateway a VoWiFi and/or
               an Internet-based call, a VoWiFi and/or an Internet-based group/conference call, and/or a PSTN call
               with the callee identified by the callee identifier. In the Huawei-Google Calling System, for example,
               the caller’s mobile telephone and the geographically situated calling servers communicate to establish
               the call session information using the IP network addresses associated with the calling servers
               geographically situated relative to the caller’s mobile telephone. Appendix A sets forth one or more

15
                                   Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 17 of 127

                                                                    CHART A
                                              domain names and one or more blocks of IP network addresses and details that, based on a location
                                              associated with an initiated device, the initiating device obtains the call session information from
                                              geographically situated calling servers using the IP network addresses associated with the blocks of IP
                                              network addresses. See https://support.google.com/fi/answer/6157793?hl=en (“Make calls over Wi-
                                              Fi”).


                                       Individually or in combination with other information, the caller’s mobile telephone using the Huawei
                                       hardware, firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-
                                       based calling client software applications to communicate the information requesting the DNS servers and/or
                                       the calling servers to provide access to the communication networks, the servers, the services, and/or the
                                       other resources associated with the Google server infrastructure to exchange a message or setup and initiate a
                                       VoWiFi and/or an Internet-based call, are examples of causing an access code request message to be
                                       transmitted to an access server as set forth in this element.


     [20e-2] to seek an access         The Huawei-Google Calling System includes a mobile telephone apparatus that causes an access code
     code from a pool of access        request message to be transmitted to an access server to seek an access code from a pool of access codes
     codes wherein each access         wherein each access code in said pool of access codes identifies a respective telephone number or Internet
     code in said pool of access       Protocol (IP) network address that enables a local call to be made to call the callee identified by the callee
     codes identifies a respective     identifier. In the Huawei-Google Calling System, for example, the caller’s mobile telephone includes and/or
     telephone number or Internet performs this element to use the Huawei hardware, firmware, configuration data, and/or VoWiFi software
     Protocol (IP) network             application and/or the Google Internet-based calling client software applications to establish communication
     address that enables a local      with the Google server infrastructure and initiate the VoWiFi and/or Internet-based call to the callee’s mobile
     call to be made to call the       telephone.



16
                                Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 18 of 127

                                                                CHART A
     callee identified by the       In the Huawei-Google Calling System, for example, the caller’s mobile telephone uses the Huawei hardware,
     callee identifier,             firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-based calling
                                    client software applications to communicate (or causes to be communicated) an access code request message
                                    as discussed with respect to element [20e-1]. In the Huawei-Google Calling System, for example, the caller’s
                                    mobile telephone uses the Huawei hardware, firmware, configuration data, and/or VoWiFi software
                                    application and/or the Google Internet-based calling client software applications to communicate (or cause to
                                    be communicated) the parts, portions, and/or a combination of information associated with the access code
                                    request message using the communications and/or the combination of communications with one or more
                                    access servers and/or a combination of access servers associated with the Google server infrastructure:
                                       •   In one or more communications and/or a combination of communications associated with causing an
                                           access code request message to be transmitted to an access server, the caller’s mobile telephone
                                           transmits (or causes to be transmitted) the communications and/or the combination of
                                           communications associated with the caller’s mobile telephone with one or more of the DNS servers
                                           associated with the Google server infrastructure. In the Huawei-Google Calling System, for example,
                                           the caller’s mobile telephone communicates (or causes to be communicated) information requesting
                                           the DNS servers to provide access to the communication networks, the servers, the services, and/or
                                           the other resources associated with the Google server infrastructure to exchange a message or setup
                                           and initiate a VoWiFi and/or an Internet-based call. In the Huawei-Google Calling System, for
                                           example, the caller’s mobile telephone communicates (or causes to be communicated) at least one
                                           DNS query asking the DNS servers for the IP network addresses associated with the calling servers
                                           geographically situated relative to the caller’s mobile telephone based on the location associated with
                                           the caller’s mobile telephone. In the Huawei-Google Calling System, for example, the caller’s mobile
                                           telephone communicates (or causes to be communicated) the DNS query with the DNS servers to
                                           seek one or more IP network addresses associated with the geographically situated calling servers

17
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 19 of 127

                                     CHART A
                from the blocks of IP network addressed owned by the Google server infrastructure. In the Huawei-
                Google Calling System, for example, the caller’s mobile telephone communicates (or causes to be
                communicated) the DNS query with the DNS servers to obtain from the DNS servers the IP network
                address associated with the blocks of IP network addressed owned by the Google server
                infrastructure, each of which identifies a respective telephone number or Internet Protocol (IP)
                network address that enables a local call to be made to call the callee identified by the callee
                identifier.
            •   In one or more communications and/or a combination of communications associated with causing an
                access code request message to be transmitted to an access server, the caller’s mobile telephone
                transmits (or causes to be transmitted) the communications and/or the combination of
                communications with one or more of the calling servers associated with the Google server
                infrastructure. In the Huawei-Google Calling System, for example, the caller’s mobile telephone
                communicates (or causes to be communicated) information requesting the calling servers to provide
                access to exchange a message or setup and initiate a VoWiFi and/or an Internet-based call. In the
                Huawei-Google Calling System, for example, the caller’s mobile telephone communicates (or causes
                to be communicated) at least one call session information request for call session information to select
                and connect to a calling gateway, establish signaling, establish a media port, provide connectivity
                negotiation with the calling gateway and/or the callee’s mobile telephone using peer-to-peer using
                protocols such as ICE/STUN/TURN, and initiate via the calling gateway a VoWiFi and/or an
                Internet-based call, a VoWiFi and/or an Internet-based group/conference call, and/or a PSTN call with
                the callee identified by the callee identifier. In the Huawei-Google Calling System, for example, the
                caller’s mobile telephone communicates (or causes to be communicated) the call session information
                request with the geographically situated calling servers to seek the call session information, which
                includes the IP network addresses associated with the geographically situated calling servers and the

18
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 20 of 127

                                                                    CHART A
                                              blocks of IP network addressed owned by the Google server infrastructure. In the Huawei-Google
                                              Calling System, for example, the caller’s mobile telephone communicates (or causes to be
                                              communicated) the call session information request with the geographically situated calling servers to
                                              obtain the calling information from the geographically situated calling servers, which identifies a
                                              respective telephone number or Internet Protocol (IP) network address that enables a local call to be
                                              made to call the callee identified by the callee identifier.


                                      Individually or in combination with other information, the caller’s mobile telephone using the Huawei
                                      hardware, firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-
                                      based calling client software applications to communicate the information requesting the DNS servers to
                                      provide access to the communication networks, the servers, the services, and/or the other resources associated
                                      with the Google server infrastructure to exchange a message or setup and initiate a VoWiFi and/or an
                                      Internet-based call and/or the information requesting the calling servers to provide access to exchange a
                                      message or setup and initiate a VoWiFi and/or an Internet-based call, are examples of causing an access code
                                      request message to be transmitted to an access server to an access server to seek an access code from a pool
                                      of access codes wherein each access code in said pool of access codes identifies a respective telephone
                                      number or Internet Protocol (IP) network address that enables a local call to be made to call the callee
                                      identified by the callee identifier as set forth in this element.


     [20e-3] said access code         The Huawei-Google Calling System includes a mobile telephone apparatus that causes an access code
     request message including        request message to be transmitted to an access server, where the access code request message includes the
     said callee identifier and       callee identifier. In the Huawei-Google Calling System, for example, the caller’s mobile telephone includes
                                      and/or performs this element to use the Huawei hardware, firmware, configuration data, and/or VoWiFi
                                      software application and/or the Google Internet-based calling client software applications to establish

19
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 21 of 127

                                      CHART A
         communication with the Google server infrastructure and initiate the VoWiFi and/or Internet-based call to the
         callee’s mobile telephone.


         In the Huawei-Google Calling System, for example, the caller’s mobile telephone uses the Huawei hardware,
         firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-based calling
         client software applications to communicate (or causes to be communicated) an access code request message
         as discussed with respect to element [20e-1]. In the Huawei-Google Calling System, for example, the caller’s
         mobile telephone uses the Huawei hardware, firmware, configuration data, and/or VoWiFi software
         application and/or the Google Internet-based calling client software applications to communicate (or cause to
         be communicated) the parts, portions, and/or a combination of information associated with the access code
         request message using the communications and/or the combination of communications with one or more
         access servers and/or a combination of access servers associated with the Google server infrastructure:
            •   In one or more communications and/or a combination of communications associated with causing an
                access code request message to be transmitted to an access server, the caller’s mobile telephone
                transmits (or causes to be transmitted) the communications and/or the combination of
                communications associated with the caller’s mobile telephone with one or more of the DNS servers
                associated with the Google server infrastructure. In the Huawei-Google Calling System, for example,
                the caller’s mobile telephone communicates (or causes to be communicated) information requesting
                the DNS servers to provide access to the communication networks, the servers, the services, and/or
                the other resources associated with the Google server infrastructure to exchange a message or setup
                and initiate a VoWiFi and/or an Internet-based call. In the Huawei-Google Calling System, for
                example, the caller’s mobile telephone communicates (or causes to be communicated) at least one
                DNS query asking the DNS servers for the IP network addresses associated with the calling servers
                geographically situated relative to the caller’s mobile telephone based on the location associated with

20
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 22 of 127

                                     CHART A
                the caller’s mobile telephone. In the Huawei-Google Calling System, for example, the caller’s mobile
                telephone, using the DNS query, communicates (or causes to be communicated), for example, a user
                name, an email address, device identifier, and/or telephone number as the callee identifier as set forth
                in element [20d].
            •   In one or more communications and/or a combination of communications associated with causing an
                access code request message to be transmitted to an access server, the caller’s mobile telephone
                transmits (or causes to be transmitted) the communications and/or the combination of
                communications with one or more of the calling servers associated with the Google server
                infrastructure. In the Huawei-Google Calling System, for example, the caller’s mobile telephone
                communicates (or causes to be communicated) information requesting the calling servers to provide
                access to exchange a message or setup and initiate a VoWiFi and/or an Internet-based call. In the
                Huawei-Google Calling System, for example, the caller’s mobile telephone communicates (or causes
                to be communicated) at least one call session information request for call session information to select
                and connect to a calling gateway, establish signaling, establish a media port, provide connectivity
                negotiation with the calling gateway and/or the callee’s mobile telephone using peer-to-peer using
                protocols such as ICE/STUN/TURN, and initiate via the calling gateway a VoWiFi and/or an
                Internet-based call, a VoWiFi and/or an Internet-based group/conference call, and/or a PSTN call with
                the callee identified by the callee identifier. In the Huawei-Google Calling System, for example, the
                caller’s mobile telephone, using the call session information request, communicates (or causes to be
                communicated), for example, a user name, an email address, device identifier, and/or telephone
                number as the callee identifier as set forth in element [20d].


         Individually or in combination with other information, the caller’s mobile telephone using the Huawei
         hardware, firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-

21
                                Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 23 of 127

                                                                  CHART A
                                     based calling client software applications to communicate the information requesting the DNS servers to
                                     provide access to the communication networks, the servers, the services, and/or the other resources associated
                                     with the Google server infrastructure to exchange a message or setup and initiate a VoWiFi and/or an
                                     Internet-based call and/or the information requesting the calling servers to provide access to exchange a
                                     message or setup and initiate a VoWiFi and/or an Internet-based call, are examples of causing an access code
                                     request message to be transmitted including a callee identifier as set forth in this element.


     [20e-4] a location identifier   The Huawei-Google Calling System includes a mobile telephone apparatus that causes an access code
     separate and distinctive from   request message to be transmitted to an access server, where the access code request message includes a
     said callee identifier,         location identifier separate and distinctive from the callee identifier. In the Huawei-Google Calling System,
                                     for example, the caller’s mobile telephone includes and/or performs this element to use the Huawei hardware,
                                     firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-based calling
                                     client software applications to establish communication with the Google server infrastructure and initiate the
                                     VoWiFi and/or Internet-based call to the callee’s mobile telephone.


                                     In the Huawei-Google Calling System, for example, the caller’s mobile telephone uses the Huawei hardware,
                                     firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-based calling
                                     client software applications to communicate (or causes to be communicated) an access code request message
                                     as discussed with respect to element [20e-1]. For example, the caller’s mobile telephone communicates with
                                     one or more access servers associated with the Google server infrastructure:
                                        •   In one or more communications and/or a combination of communications associated with causing an
                                            access code request message to be transmitted to an access server, the caller’s mobile telephone
                                            transmits (or causes to be transmitted) the communications and/or the combination of
                                            communications associated with the caller’s mobile telephone with one or more of the DNS servers

22
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 24 of 127

                                      CHART A
                associated with the Google server infrastructure. In the Huawei-Google Calling System, for example,
                the caller’s mobile telephone communicates (or causes to be communicated) information requesting
                the DNS servers to provide access to the communication networks, the servers, the services, and/or
                the other resources associated with the Google server infrastructure to exchange a message or setup
                and initiate a VoWiFi and/or an Internet-based call. In the Huawei-Google Calling System, for
                example, the caller’s mobile telephone communicates (or causes to be communicated) at least one
                DNS query asking the DNS servers for the IP network addresses associated with the calling servers
                geographically situated relative to the caller’s mobile telephone based on the location associated with
                the caller’s mobile telephone. In the Huawei-Google Calling System, for example, the caller’s mobile
                telephone, using the DNS query, communicates (or causes to be communicated) one or more IP
                network addresses directly and/or indirectly associated with the caller’s mobile telephone as a
                location identifier identifying a location of the caller’s mobile telephone. In the Huawei-Google
                Calling System, for example, the caller’s mobile telephone, using the DNS query, communicates (or
                causes to be communicated) the IP network addresses as separate and distinctive from the callee
                identifier as set forth in element [20d].
            •   In one or more communications and/or a combination of communications associated with causing an
                access code request message to be transmitted to an access server, the caller’s mobile telephone
                transmits (or causes to be transmitted) the communications and/or the combination of
                communications with one or more of the calling servers associated with the Google server
                infrastructure. In the Huawei-Google Calling System, for example, the caller’s mobile telephone
                communicates (or causes to be communicated) information requesting the calling servers to provide
                access to exchange a message or setup and initiate a VoWiFi and/or an Internet-based call. In the
                Huawei-Google Calling System, for example, the caller’s mobile telephone communicates (or causes
                to be communicated) at least one call session information request for call session information to select

23
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 25 of 127

                                       CHART A
                and connect to a calling gateway, establish signaling, establish a media port, provide connectivity
                negotiation with the calling gateway and/or the callee’s mobile telephone using peer-to-peer using
                protocols such as ICE/STUN/TURN, and initiate via the calling gateway a VoWiFi and/or an
                Internet-based call, a VoWiFi and/or an Internet-based group/conference call, and/or a PSTN call with
                the callee identified by the callee identifier. In the Huawei-Google Calling System, for example, the
                caller’s mobile telephone, using the call session information request, communicates (or causes to be
                communicated) one or more IP network addresses directly and/or indirectly associated with the
                caller’s mobile telephone and/or a current or pre-associated location information associated with the
                caller’s mobile telephone as a location identifier identifying a location of the caller’s mobile
                telephone. In the Huawei-Google Calling System, for example, the caller’s mobile telephone, using
                the call session information request, communicates (or causes to be communicated) the IP network
                addresses and/or the current or pre-associated location information associated with the caller’s mobile
                telephone as separate and distinctive from the callee identifier as set forth in element [20d].


         Individually or in combination with other information, the caller’s mobile telephone using the Huawei
         hardware, firmware, configuration data, and/or VoWiFi software application to communicate the information
         requesting the DNS servers to provide access to the communication networks, the servers, the services,
         and/or the other resources associated with the Google server infrastructure to exchange a message or setup
         and initiate a VoWiFi and/or an Internet-based call and/or the information requesting the calling servers to
         provide access to exchange a message or setup and initiate a VoWiFi and/or an Internet-based call, are
         examples of causing an access code request message to be transmitted including a location identifier separate
         and distinctive from the callee identifier as set forth in this element.




24
                                Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 26 of 127

                                                                CHART A
     [20e-5] said location          The Huawei-Google Calling System includes a mobile telephone apparatus that causes an access code
     identifier identifying a       request message to be transmitted to an access server, where the access code request message includes a
     location of the mobile         location identifier identifying a location of the mobile telephone. In the Huawei-Google Calling System, for
     telephone;                     example, the caller’s mobile telephone includes and/or performs this element to use the Huawei hardware,
                                    firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-based calling
                                    client software applications to establish communication with the Google server infrastructure and initiate the
                                    VoWiFi and/or Internet-based call to the callee’s mobile telephone.


                                    In the Huawei-Google Calling System, for example, the caller’s mobile telephone uses the Huawei hardware,
                                    firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-based calling
                                    client software applications to communicate (or causes to be communicated) an access code request message
                                    as discussed with respect to element [20e-1]. In the Huawei-Google Calling System, for example, the caller’s
                                    mobile telephone uses the Huawei hardware, firmware, configuration data, and/or VoWiFi software
                                    application and/or the Google Internet-based calling client software applications to communicate (or cause to
                                    be communicated) the parts, portions, and/or a combination of information associated with the access code
                                    request message using the communications and/or the combination of communications with one or more
                                    access servers and/or a combination of access servers associated with the Google server infrastructure:
                                       •   In one or more communications and/or a combination of communications associated with causing an
                                           access code request message to be transmitted to an access server, the caller’s mobile telephone
                                           transmits (or causes to be transmitted) the communications and/or the combination of
                                           communications associated with the caller’s mobile telephone with one or more of the DNS servers
                                           associated with the Google server infrastructure. In the Huawei-Google Calling System, for example,
                                           the caller’s mobile telephone communicates (or causes to be communicated) information requesting
                                           the DNS servers to provide access to the communication networks, the servers, the services, and/or

25
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 27 of 127

                                      CHART A
                the other resources associated with the Google server infrastructure to exchange a message or setup
                and initiate a VoWiFi and/or an Internet-based call. In the Huawei-Google Calling System, for
                example, the caller’s mobile telephone communicates (or causes to be communicated) at least one
                DNS query asking the DNS servers for the IP network addresses associated with the calling servers
                geographically situated relative to the caller’s mobile telephone based on the location associated with
                the caller’s mobile telephone. In the Huawei-Google Calling System, for example, the caller’s mobile
                telephone, using the DNS query, communicates (or causes to be communicated) one or more IP
                network addresses directly and/or indirectly associated with the caller’s mobile telephone as a
                location identifier identifying a location of the caller’s mobile telephone. In the Huawei-Google
                Calling System, for example, the caller’s mobile telephone, using the DNS query, communicates (or
                causes to be communicated) the IP network addresses as separate and distinctive from the callee
                identifier as set forth in element [20d].
            •   In one or more communications and/or a combination of communications associated with causing an
                access code request message to be transmitted to an access server, the caller’s mobile telephone
                transmits (or causes to be transmitted) the communications and/or the combination of
                communications with one or more of the calling servers associated with the Google server
                infrastructure. In the Huawei-Google Calling System, for example, the caller’s mobile telephone
                communicates (or causes to be communicated) information requesting the calling servers to provide
                access to exchange a message or setup and initiate a VoWiFi and/or an Internet-based call. In the
                Huawei-Google Calling System, for example, the caller’s mobile telephone communicates (or causes
                to be communicated) at least one call session information request for call session information to select
                and connect to a calling gateway, establish signaling, establish a media port, provide connectivity
                negotiation with the calling gateway and/or the callee’s mobile telephone using peer-to-peer using
                protocols such as ICE/STUN/TURN, and initiate via the calling gateway a VoWiFi and/or an

26
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 28 of 127

                                         CHART A
                Internet-based call, a VoWiFi and/or an Internet-based group/conference call, and/or a PSTN call with
                the callee identified by the callee identifier. In the Huawei-Google Calling System, for example, the
                caller’s mobile telephone, using the call session information request, communicates (or causes to be
                communicated) one or more IP network addresses directly and/or indirectly associated with the
                caller’s mobile telephone and/or a current or pre-associated location information associated with the
                caller’s mobile telephone as a location identifier identifying a location of the caller’s mobile
                telephone. In the Huawei-Google Calling System, for example, the caller’s mobile telephone, using
                the call session information request, communicates (or causes to be communicated) the IP network
                addresses and/or the current or pre-associated location information associated with the caller’s mobile
                telephone as separate and distinctive from the callee identifier as set forth in element [20d].


         The IP network addresses directly and/or indirectly associated with the caller’s mobile telephone identify a
         location associated with the caller’s mobile telephone, for example, as one or more absolute and relative
         locations:
            •   an actual geographic location associated with the caller’s mobile telephone, which is identified by an
                IP network address assigned to the caller’s mobile telephone by a service provider, such as a wireless
                carrier or Internet Service Provider (ISP);
            •   an actual geographic location associated with the caller’s mobile telephone, which is identified by an
                IP network address assigned to a router by a service provider, such as a wireless carrier or ISP, and
                through which the caller’s mobile telephone directly or indirectly communicates with the Google
                server infrastructure;
            •   an actual geographic location associated with the caller’s mobile telephone, which is identified by an
                IP network address assigned to a proxy server by a service provider independent of the Google server
                infrastructure, such as a wireless carrier or ISP, and which is physically located at an office/data

27
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 29 of 127

                                     CHART A
                center owned or leased by the service provider or a customer of the service provider and through
                which the caller’s mobile telephone directly or indirectly communicates with the Google server
                infrastructure;
            •   a relative geographic location associated with the caller’s mobile telephone, which is identified using
                a location physically or logically relative to the Google server infrastructure by an IP network address
                assigned by a service provider independent of the Google server infrastructure to the caller’s mobile
                telephone, a router through which the caller’s mobile telephone communicates with the Google server
                infrastructure, or a proxy server through which the caller’s mobile telephone communicates with the
                Google server infrastructure;
            •   a proximate location associated with the caller’s mobile telephone, which is identified using a location
                physically or logically approximate to the Google server infrastructure by an IP network address
                assigned by a service provider independent of the Google server infrastructure to the caller’s mobile
                telephone, a router through which the caller’s mobile telephone communicates with the Google server
                infrastructure, or a proxy server through which the caller’s mobile telephone communicates with the
                Google server infrastructure.
         The current or pre-associated location information associated with the caller’s mobile telephone identify a
         location associated with the caller’s mobile telephone, such as one or more absolute and relative locations as:
            •   a physical location, such as a street address, latitude/longitude, and GPS coordinates.
            •   a logical or virtual location, such as a communications network, Internet Service Provider, Wireless
                Service Provider, and Wireless Carrier.


         Individually or in combination with other information, the caller’s mobile telephone using the Huawei
         hardware, firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-
         based calling client software applications to communicate the information requesting the DNS servers to

28
                                 Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 30 of 127

                                                                  CHART A
                                     provide access to the communication networks, the servers, the services, and/or the other resources associated
                                     with the Google server infrastructure to exchange a message or setup and initiate a VoWiFi and/or an
                                     Internet-based call and/or the information requesting the calling servers to provide access to exchange a
                                     message or setup and initiate a VoWiFi and/or an Internet-based call, are examples of causing an access code
                                     request message to be transmitted including a location identifier identifying a location of the mobile
                                     telephone as set forth in this element.


     [20f-1] receive an access       The Huawei-Google Calling System includes a mobile telephone apparatus that receives an access code reply
     code reply message from the     message from the access server in response to said access code request message. In the Huawei-Google
     access server in response to    Calling System, for example, the caller’s mobile telephone includes and/or performs this element to use the
     said access code request        Huawei hardware, firmware, configuration data, and/or VoWiFi software application and/or the Google
     message,                        Internet-based calling client software applications to establish communication with the Google server
                                     infrastructure and initiate the VoWiFi and/or Internet-based call to the callee’s mobile telephone.


                                     In the Huawei-Google Calling System for example, the caller’s mobile telephone obtains (or causes to be
                                     obtained) an access code reply message from the access server in response to the access code request
                                     message as set forth in elements [20e et seq]. In the Huawei-Google Calling System, for example, the caller’s
                                     mobile telephone obtains (or causes to be obtained) an access code reply message comprising one or more
                                     parts, portions, and/or a combination of information. In the Huawei-Google Calling System, for example, the
                                     caller’s mobile telephone obtains (or causes to be obtained) the parts, portions, and/or a combination of
                                     information associated with the access code reply message using one or more communications and/or a
                                     combination of communications with the Google server infrastructure. In the Huawei-Google Calling
                                     System, for example, the caller’s mobile telephone obtains (or causes to be obtained) the parts, portions,
                                     and/or a combination of information associated with the access code reply message using the

29
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 31 of 127

                                     CHART A
         communications and/or the combination of communications with one or more access servers and/or a
         combination of access servers associated with the Google server infrastructure:
            •   In one or more communications and/or a combination of communications associated with receiving
                an access code reply message from the access server in response to the access code request message,
                the caller’s mobile telephone obtains (or causes to be obtained) the communications and/or the
                combination of communications associated with one or more of the DNS servers. In the Huawei-
                Google Calling System, the caller’s mobile telephone obtains (or causes to be obtained) the
                communications and/or the combination of communications associated with the DNS servers as one
                or more of the parts, portions, and/or a combination of information associated with the access code
                reply message. In the Huawei-Google Calling System, for example, the DNS servers provide access
                to a naming service associated with one or more communication networks, one or more servers, one
                or more services, and/or one or more other resources associated with the Google server infrastructure
                and used by Huawei devices to exchange a message or setup and initiate a VoWiFi and/or an Internet-
                based call. In the Huawei-Google Calling System, for example, the caller’s mobile telephone obtains
                (or causes to be obtained) information produced by the DNS servers to provide access to the
                communication networks, the servers, the services, and/or the other resources associated with the
                Google server infrastructure to exchange a message or setup and initiate a VoWiFi and/or an Internet-
                based call. In the Huawei-Google Calling System, for example, the caller’s mobile telephone obtains
                (or causes to be obtained) the information produced by the DNS servers to provide access to the
                communication networks, the servers, the services, and/or the other resources associated with the
                Google server infrastructure to exchange a message or setup and initiate a VoWiFi and/or an Internet-
                based call using one or more packets produced (or caused to be produced) by one or more of the DNS
                servers associated with the Google server infrastructure. In the Huawei-Google Calling System, for
                example, the caller’s mobile telephone obtains (or causes to be obtained) the packets including one or

30
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 32 of 127

                                     CHART A
                more DNS replies that respond to the DNS queries for the IP network addresses associated with the
                calling servers using one or more domain names associated with the Google server infrastructure. In
                the Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or causes to
                be obtained) at least one DNS reply that identifies the IP network addresses associated with one or
                more geographically situated calling servers based on the location associated with the caller’s mobile
                telephone. In the Huawei-Google Calling System, for example, the caller’s mobile telephone obtains
                (or causes to be obtained) the DNS reply where the DNS servers identify to the caller’s mobile
                telephone one or more calling servers that are geographically situated with respect to the location
                associated with caller’s mobile telephone (via identifying the IP network addresses associated with
                the geographically situated calling servers). In the Huawei-Google Calling System, for example, the
                caller’s mobile telephone obtains (or causes to be obtained) the DNS reply where the DNS servers
                identify the geographically situated calling servers to the caller’s mobile telephone based on the
                location associated with the IP network address associated with the caller’s mobile telephone.
                Additionally, in the Huawei-Google Calling System, for example, the caller’s mobile telephone
                obtains (or causes to be obtained) the DNS reply where the DNS servers identify the geographically
                situated calling servers to the caller’s mobile telephone as having one or more communications
                channels through which communications between the caller’s mobile telephone and the callee can be
                conducted (via identifying the IP network addresses associated with the geographically situated
                calling servers).
            •   In one or more communications and/or a combination of communications associated with receiving
                an access code reply message from the access server in response to the access code request message,
                the caller’s mobile telephone obtains (or causes to be obtained) the communications and/or the
                combination of communications associated with one or more of the geographically situated calling
                servers associated with the Google server infrastructure. In the Huawei-Google Calling System, for

31
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 33 of 127

                                    CHART A
               example, the caller’s mobile telephone obtains (or causes to be obtained) the communications and/or
               the combination of communications with the calling servers as one or more of the parts, portions,
               and/or a combination of information associated with the access code reply message. In the Huawei-
               Google Calling System, for example, the calling servers provide access to a calling service to
               exchange messages (including chats, group chats, images, videos, voice messages and files) and make
               VoWiFi and/or Internet-based calls (voice and video) via the communication networks, the servers,
               the services, and/or the other resources associated with the Google server infrastructure. In the
               Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be
               obtained) information produced by the calling servers to provide access to exchange a message and
               setup and initiate a VoWiFi and/or Internet-based call. In the Huawei-Google Calling System, for
               example, the caller’s mobile telephone obtains (or causes to be obtained) the information produced by
               the calling servers to provide access to exchange a message and setup and initiate a VoWiFi and/or
               Internet-based call using one or more packets produced (or caused to be produced) by the calling
               servers. In the Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or
               causes to be obtained) the packets communicated (or caused to be communicated) by the calling
               servers. In the Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or
               causes to be obtained) the packets including call session information to select and connect to a calling
               gateway, establish signaling, establish a media port, provide connectivity negotiation with the calling
               gateway and/or the callee’s mobile telephone using peer-to-peer using protocols such as
               ICE/STUN/TURN, and initiate via the calling gateway a VoWiFi and/or an Internet-based call, a
               VoWiFi and/or an Internet-based group/conference call, and/or a PSTN call with the callee identified
               by the callee identifier. In the Huawei-Google Calling System, for example, the caller’s mobile
               telephone obtains (or causes to be obtained) the call session information to identify, to the caller’s
               mobile telephone, the calling servers as geographically situated with respect to the caller’s mobile

32
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 34 of 127

                                                                  CHART A
                                             telephone using the IP network addresses associated with the geographically situated calling servers.
                                             In the Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or causes
                                             to be obtained) the call session information based on the geographic location associated with the
                                             caller’s mobile telephone. In the Huawei-Google Calling System, for example, the caller’s mobile
                                             telephone obtains (or causes to be obtained) the call session information to identify, to the caller’s
                                             mobile telephone, one or more communications channels through which communications between the
                                             caller’s mobile telephone and the callee can be conducted.


                                      Individually or in combination with other information, the caller’s mobile telephone using the Huawei
                                      hardware, firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-
                                      based calling client software applications to obtain the information produced by the DNS servers to provide
                                      access to the communication networks, the servers, the services, and/or the other resources associated with
                                      the Google server infrastructure to exchange a message or setup and initiate a VoWiFi and/or Internet-based
                                      call and/or the information produced by the calling servers to provide access to exchange a message or setup
                                      and initiate a VoWiFi and/or Internet-based call, are examples of receiving an access code reply message
                                      from an access server in response to the access code request message as set forth in this element.


     [20f-2] said access code         The Huawei-Google Calling System includes a mobile telephone apparatus that receives said access code
     reply message including an       reply message including an access code different from said callee identifier. In the Huawei-Google Calling
     access code different from       System, for example, the caller’s mobile telephone includes and/or performs this element to use the Huawei
     said callee identifier and       hardware, firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-
                                      based calling client software applications to establish communication with the Google server infrastructure
                                      and initiate the VoWiFi and/or Internet-based call to the callee’s mobile telephone.



33
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 35 of 127

                                     CHART A
         In the Huawei-Google Calling System for example, the caller’s mobile telephone obtains (or causes to be
         obtained) an access code reply message from the access server as set forth in element [20f-1] in response to
         the access code request message as set forth in elements [20e et seq]. In the Huawei-Google Calling System,
         for example, the caller’s mobile telephone obtains (or causes to be obtained) an access code reply message
         comprising one or more parts, portions, and/or a combination of information. In the Huawei-Google Calling
         System, for example, the caller’s mobile telephone obtains (or causes to be obtained) the parts, portions,
         and/or a combination of information associated with the access code reply message using one or more
         communications and/or a combination of communications with the Google server infrastructure. In the
         Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be obtained)
         the parts, portions, and/or a combination of information associated with the access code reply message using
         the communications and/or the combination of communications with one or more access servers and/or a
         combination of access servers associated with the Google server infrastructure:
            •   In one or more communications and/or a combination of communications associated with receiving
                an access code reply message from the access server in response to the access code request message,
                the caller’s mobile telephone obtains (or causes to be obtained) the communications and/or the
                combination of communications associated with one or more of the DNS servers. In the Huawei-
                Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be obtained)
                the information produced by the DNS servers to provide access to the communication networks, the
                servers, the services, and/or the other resources associated with the Google server infrastructure to
                exchange a message or setup and initiate a VoWiFi and/or an Internet-based call. In the Huawei-
                Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be obtained)
                the DNS reply that identifies the IP network addresses associated with one or more geographically
                situated calling servers based on the location associated with the caller’s mobile telephone. In the
                Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be

34
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 36 of 127

                                     CHART A
                obtained) the DNS reply where the DNS servers identify to the caller’s mobile telephone one or more
                calling servers that are geographically situated with respect to the location associated with caller’s
                mobile telephone (via identifying the IP network addresses associated with the geographically
                situated calling servers). In the Huawei-Google Calling System, for example, the caller’s mobile
                telephone obtains (or causes to be obtained) the DNS reply where the IP network addresses associated
                with the geographically situated calling servers are separate and distinctive from the callee identifier
                as set forth in element [20d].
            •   In one or more communications and/or a combination of communications associated with receiving
                an access code reply message from the access server in response to the access code request message,
                the caller’s mobile telephone obtains (or causes to be obtained) the communications and/or the
                combination of communications associated with one or more of the geographically situated calling
                servers associated with the Google server infrastructure. In the Huawei-Google Calling System, for
                example, the caller’s mobile telephone obtains (or causes to be obtained) information produced by the
                calling servers to provide access to exchange a message and setup and initiate a VoWiFi and/or
                Internet-based call. In the Huawei-Google Calling System, for example, the caller’s mobile telephone
                obtains (or causes to be obtained) the call session information to identify, to the caller’s mobile
                telephone, the calling servers as geographically situated with respect to the caller’s mobile telephone
                using the IP network addresses associated with the geographically situated calling servers, which are
                different from the callee identifier as discussed with respect to element [20d]. In the Huawei-Google
                Calling System, for example, the caller’s mobile telephone obtains (or causes to be obtained) the call
                session information to identify, to the caller’s mobile telephone, one or more communications
                channels through which communications between the caller’s mobile telephone and the callee can be
                conducted, which are different from the callee identifier as discussed with respect to element [20d].



35
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 37 of 127

                                                                   CHART A
                                      Individually or in combination with other information, the caller’s mobile telephone using the Huawei
                                      hardware, firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-
                                      based calling client software applications to obtain the information produced by the DNS servers to provide
                                      access to the communication networks, the servers, the services, and/or the other resources associated with
                                      the Google server infrastructure to exchange a message or setup and initiate a VoWiFi and/or Internet-based
                                      call and/or the information produced by the calling servers to provide access to exchange a message or setup
                                      and initiate a VoWiFi and/or Internet-based call, are examples of receiving an access code reply message
                                      including an access code different from the callee identifier as set forth in this element.


     [20f-3] associated with said     The Huawei-Google Calling System includes a mobile telephone apparatus that receives said access code
     location identifier and/or       reply message including an access code associated with said location identifier and/or associated with a
     associated with a location       location pre-associated with the mobile telephone. In the Huawei-Google Calling System, for example, the
     pre-associated with the          caller’s mobile telephone includes and/or performs this element to use the Huawei hardware, firmware,
     mobile telephone and             configuration data, and/or VoWiFi software application and/or the Google Internet-based calling client
                                      software applications to establish communication with the Google server infrastructure and initiate the
                                      VoWiFi and/or Internet-based call to the callee’s mobile telephone.


                                      In the Huawei-Google Calling System for example, the caller’s mobile telephone obtains (or causes to be
                                      obtained) an access code reply message from the access server as set forth in element [20f-1] in response to
                                      the access code request message as set forth in elements [20e et seq]. In the Huawei-Google Calling System,
                                      for example, the caller’s mobile telephone obtains (or causes to be obtained) an access code reply message
                                      comprising one or more parts, portions, and/or a combination of information. In the Huawei-Google Calling
                                      System, for example, the caller’s mobile telephone obtains (or causes to be obtained) the parts, portions,
                                      and/or a combination of information associated with the access code reply message using one or more

36
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 38 of 127

                                     CHART A
         communications and/or a combination of communications with the Google server infrastructure. In the
         Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be obtained)
         the parts, portions, and/or a combination of information associated with the access code reply message using
         the communications and/or the combination of communications with one or more access servers and/or a
         combination of access servers associated with the Google server infrastructure:
            •   In one or more communications and/or a combination of communications associated with receiving
                an access code reply message from the access server in response to the access code request message,
                the caller’s mobile telephone obtains (or causes to be obtained) the communications and/or the
                combination of communications associated with one or more of the DNS servers. In the Huawei-
                Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be obtained)
                the information produced by the DNS servers to provide access to the communication networks, the
                servers, the services, and/or the other resources associated with the Google server infrastructure to
                exchange a message or setup and initiate a VoWiFi and/or an Internet-based call. In the Huawei-
                Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be obtained)
                the DNS reply that identifies the IP network addresses associated with one or more geographically
                situated calling servers based on the location associated with the caller’s mobile telephone. In the
                Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be
                obtained) the DNS reply where the DNS servers identify to the caller’s mobile telephone one or more
                calling servers that are geographically situated with respect to the location associated with caller’s
                mobile telephone (via identifying the IP network addresses associated with the geographically
                situated calling servers). In the Huawei-Google Calling System, for example, the caller’s mobile
                telephone obtains (or causes to be obtained) the DNS reply where the DNS servers identify to the
                caller’s mobile telephone identify the IP network addresses associated with the geographically
                situated calling servers based on using one or more IP network addresses directly and/or indirectly

37
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 39 of 127

                                     CHART A
                associated with the caller’s mobile telephone and/or a location pre-associated with the mobile
                telephone. In the Huawei-Google Calling System, for example, the caller’s mobile telephone obtains
                (or causes to be obtained) the DNS reply where the DNS servers associate the IP network addresses
                associated with the geographically situated calling servers with the IP network addresses directly
                and/or indirectly associated with the caller’s mobile telephone and/or the location pre-associated with
                the mobile telephone.
            •   In one or more communications and/or a combination of communications associated with receiving
                an access code reply message from the access server in response to the access code request message,
                the caller’s mobile telephone obtains (or causes to be obtained) the communications and/or the
                combination of communications associated with one or more of the geographically situated calling
                servers associated with the Google server infrastructure. In the Huawei-Google Calling System, for
                example, the caller’s mobile telephone obtains (or causes to be obtained) information produced by the
                calling servers to provide access to exchange a message and setup and initiate a VoWiFi and/or
                Internet-based call. In the Huawei-Google Calling System, for example, the caller’s mobile telephone
                obtains (or causes to be obtained) the call session information to communicate using the IP network
                addresses associated with the geographically situated calling servers based on the IP network
                addresses directly and/or indirectly associated with the caller’s mobile telephone and/or the location
                pre-associated with the mobile telephone. In the Huawei-Google Calling System, for example, the
                caller’s mobile telephone obtains (or causes to be obtained) the call session information to
                communicate using one or more communications channels through which communications between
                the caller’s mobile telephone and the callee can be conducted based on the IP network addresses
                directly and/or indirectly associated with the caller’s mobile telephone and/or the location pre-
                associated with the mobile telephone.



38
                               Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 40 of 127

                                                                 CHART A
                                    Individually or in combination with other information, the caller’s mobile telephone using the Huawei
                                    hardware, firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-
                                    based calling client software applications to obtain the information produced by the DNS servers to provide
                                    access to the communication networks, the servers, the services, and/or the other resources associated with
                                    the Google server infrastructure to exchange a message or setup and initiate a VoWiFi and/or Internet-based
                                    call and/or the information produced by the calling servers to provide access to exchange a message or setup
                                    and initiate a VoWiFi and/or Internet-based call, are examples of receiving an access code reply message
                                    including an access code associated with a location identifier and/or associated with a location pre-associated
                                    with the mobile telephone as set forth in this element.


     [20f-4] wherein said access    The Huawei-Google Calling System includes a mobile telephone apparatus that receives said access code
     code expires after a period of reply message including an access code, wherein said access code expires after a period of time. In the
     time; and                      Huawei-Google Calling System, for example, the caller’s mobile telephone includes and/or performs this
                                    element to use the Huawei hardware, firmware, configuration data, and/or VoWiFi software application
                                    and/or the Google Internet-based calling client software applications to establish communication with the
                                    Google server infrastructure and initiate the VoWiFi and/or Internet-based call to the callee’s mobile
                                    telephone.


                                    In the Huawei-Google Calling System for example, the caller’s mobile telephone obtains (or causes to be
                                    obtained) an access code reply message from the access server as set forth in element [20f-1] in response to
                                    the access code request message as set forth in elements [20e et seq]. In the Huawei-Google Calling System,
                                    for example, the caller’s mobile telephone obtains (or causes to be obtained) an access code reply message
                                    comprising one or more parts, portions, and/or a combination of information. In the Huawei-Google Calling
                                    System, for example, the caller’s mobile telephone obtains (or causes to be obtained) the parts, portions,

39
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 41 of 127

                                     CHART A
         and/or a combination of information associated with the access code reply message using one or more
         communications and/or a combination of communications with the Google server infrastructure. In the
         Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be obtained)
         the parts, portions, and/or a combination of information associated with the access code reply message using
         the communications and/or the combination of communications with one or more access servers and/or a
         combination of access servers associated with the Google server infrastructure:
            •   In one or more communications and/or a combination of communications associated with receiving
                an access code reply message from the access server in response to the access code request message,
                the caller’s mobile telephone obtains (or causes to be obtained) the communications and/or the
                combination of communications associated with one or more of the DNS servers. In the Huawei-
                Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be obtained)
                the information produced by the DNS servers to provide access to the communication networks, the
                servers, the services, and/or the other resources associated with the Google server infrastructure to
                exchange a message or setup and initiate a VoWiFi and/or an Internet-based call. In the Huawei-
                Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be obtained)
                the DNS reply that identifies the IP network addresses associated with one or more geographically
                situated calling servers based on the location associated with the caller’s mobile telephone. In the
                Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or causes to be
                obtained) the DNS reply where the DNS servers identify to the caller’s mobile telephone one or more
                calling servers that are geographically situated with respect to the location associated with caller’s
                mobile telephone (via identifying the IP network addresses associated with the geographically
                situated calling servers). In the Huawei-Google Calling System, for example, the caller’s mobile
                telephone obtains (or causes to be obtained) the DNS reply including a time-to-live (TTL) value. In
                the Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or causes to

40
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 42 of 127

                                     CHART A
                be obtained) the DNS reply where the DNS servers assign the TTL value to the DNS reply messages
                resolving various information (such as IP network addresses) that facilitate communication with the
                communication networks, the servers, the services, and/or the other resources associated with the
                Google server infrastructure. In the Huawei-Google Calling System, for example, the caller’s mobile
                telephone obtains (or causes to be obtained) the DNS reply where the DNS servers assign the TTL
                values to one or more IP network addresses associated with the calling servers, indicating that validity
                of the responses resolving the IP network addresses expires after a period of time.
            •   In one or more communications and/or a combination of communications associated with receiving
                an access code reply message from the access server in response to the access code request message,
                the caller’s mobile telephone obtains (or causes to be obtained) the communications and/or the
                combination of communications associated with one or more of the geographically situated calling
                servers associated with the Google server infrastructure. In the Huawei-Google Calling System, for
                example, the caller’s mobile telephone obtains (or causes to be obtained) information produced by the
                calling servers to provide access to exchange a message and setup and initiate a VoWiFi and/or
                Internet-based call. In the Huawei-Google Calling System, for example, the caller’s mobile telephone
                obtains (or causes to be obtained) the call session information to communicate using the IP network
                addresses associated with the geographically situated calling servers for a period of time, which
                expires. In the Huawei-Google Calling System, for example, the caller’s mobile telephone obtains (or
                causes to be obtained) the call session information to communicate using one or more
                communications channels through which communications between the caller’s mobile telephone and
                the callee can be conducted for a period of time, which expires. In the Huawei-Google Calling
                System, for example, the caller’s mobile telephone obtains (or causes to be obtained) the call session
                information where the calling servers explicitly and/or implicitly establish a session time using the
                call session information. In the Huawei-Google Calling System, for example, the caller’s mobile

41
                                   Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 43 of 127

                                                                    CHART A
                                              telephone obtains (or causes to be obtained) the call session information where the calling servers
                                              establish the session time using the call session information to indicate that validity of a message or a
                                              VoWiFi and/or Internet-based call expires after a period of time, such as after a predetermined time or
                                              at the end of a session.


                                       Individually or in combination with other information, the caller’s mobile telephone using the Huawei
                                       hardware, firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-
                                       based calling client software applications to obtain the information produced by the DNS servers to provide
                                       access to the communication networks, the servers, the services, and/or the other resources associated with
                                       the Google server infrastructure to exchange a message or setup and initiate a VoWiFi and/or Internet-based
                                       call and/or the information produced by the calling servers to provide access to exchange a message or setup
                                       and initiate a VoWiFi and/or Internet-based call, are examples of receiving an access code reply message
                                       including an access code that expires after a period of time as set forth in this element.


     [20g] initiate a call using       The Huawei-Google Calling System includes a mobile telephone apparatus that initiates a call with the
     said access code to identify      mobile telephone using the access code to identify the callee. In the Huawei-Google Calling System, for
     the callee.                       example, the caller’s mobile telephone includes and/or performs this element to use the Huawei hardware,
                                       firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-based calling
                                       client software applications to establish communication with the Google server infrastructure and initiate the
                                       VoWiFi and/or Internet-based call to the callee’s mobile telephone.


                                       In the Huawei-Google Calling System, for example, the caller’s mobile telephone communicates (or causes
                                       to be communicated) an access code request message with the Google server infrastructure as discussed with
                                       respect to elements [20e et seq]. In the Huawei-Google Calling System, for example, the caller’s mobile

42
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 44 of 127

                                     CHART A
         telephone obtains (or causes to be obtained) an access code request message that includes an access code
         from the Google server infrastructure as discussed with respect to elements [20f et seq]. In the Huawei-
         Google Calling System, for example, the caller’s mobile telephone establishes (or causes to be established) a
         VoWiFi and/or Internet-based call using the access code to identify the callee. In the Huawei-Google Calling
         System, for example, the caller’s mobile telephone establishes (or causes to be established) the VoWiFi
         and/or Internet-based call using the information produced by the DNS servers to provide access to the
         communication networks, the servers, the services, and/or the other resources associated with the Google
         server infrastructure to exchange a message or setup and initiate a VoWiFi and/or Internet-based call and/or
         the information produced by the calling servers to provide access to exchange a message or setup and initiate
         a VoWiFi and/or Internet-based call. In the Huawei-Google Calling System, for example, the caller’s mobile
         telephone establishes (or causes to be established) a VoWiFi and/or Internet-based call using the access code
         comprising, either individually or in combination with other information:
            •   The information produced by the DNS servers to provide access to the communication networks, the
                servers, the services, and/or the other resources associated with the Google server infrastructure to
                exchange a message or setup and initiate a VoWiFi and/or Internet-based call; and/or
            •   The information produced by the calling servers to provide access to exchange a message or setup and
                initiate a VoWiFi and/or Internet-based call.


         In the Huawei-Google Calling System, for example, the caller’s mobile telephone uses the DNS servers to
         obtain information providing access to the communication networks, the servers, the services, and/or the
         other resources associated with the Google server infrastructure to exchange a message or setup and initiate a
         VoWiFi and/or Internet-based call, such as the IP addresses associated with the geographically situated
         calling servers. In the Huawei-Google Calling System, for example, the caller’s mobile telephone uses the
         geographically situated call servers to obtain information providing access to exchange a message or setup

43
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 45 of 127

                                      CHART A
         and initiate a VoWiFi and/or Internet-based call, such as the call session information. In the Huawei-Google
         Calling System, for example, the caller’s mobile telephone establishes (or causes to be established) the
         VoWiFi and/or Internet-based call using the IP addresses associated with the geographically situated calling
         servers and the call session information. In the Huawei-Google Calling System, for example, the caller’s
         mobile telephone initiates and establishes the VoWiFi and/or Internet-based call using the access code to
         identify the callee when the VoWiFi and/or Internet-based call is made using the IP addresses associated with
         the geographically situated calling servers resolved by the DNS servers and thus allocated by the Google
         server infrastructure for calls to the callee. In the Huawei-Google Calling System, for example, the access
         code may be combined with additional information that identifies the callee. In the Huawei-Google Calling
         System, for example, the caller’s mobile telephone initiates and establishes the VoWiFi and/or Internet-based
         call using the access code to identify the callee when the VoWiFi and/or Internet-based call using the IP
         addresses associated with the geographically situated calling servers and the call session information obtained
         from the geographically situated calling servers. In the Huawei-Google Calling System, for example, the
         ability to successfully place a VoWiFi and/or Internet-based call to the callee inherently requires identifying
         the callee.


         Individually or in combination with other information, the caller’s mobile telephone using the Huawei
         hardware, firmware, configuration data, and/or VoWiFi software application and/or the Google Internet-
         based calling client software applications to initiate VoWiFi and/or Internet-based call using the information
         produced by the DNS servers to provide access to the communication networks, the servers, the services,
         and/or the other resources associated with the Google server infrastructure to exchange a message or setup
         and initiate a VoWiFi and/or Internet-based call and/or the information produced by the calling servers to
         provide access to exchange a message or setup and initiate a VoWiFi and/or Internet-based call, are examples



44
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 46 of 127

                                       CHART A
         of initiating a call with the mobile telephone using the access code to identify the callee as set forth in this
         element.


         The Huawei-Google Calling System enables mobile telephone roaming as described in the ‘234 Patent and
         defined in claim 20, literally and/or under the doctrine of equivalents. The Huawei-Google Calling System
         uses access code request/response messages to produce an access code useable by the mobile telephone to
         initiate a call to a callee. In the Huawei-Google Calling System, the access code is based on a location
         identifier and/or based on a location pre-associated with the mobile telephone. The access code, alone or in
         combination with other information for example, identifies an IP address associated with one or more calling
         servers having a communication channel through which the caller’s mobile telephone may initiate a VoWiFi
         and/or Internet-based call. In the Huawei-Google Calling System, an access code comprises information or a
         combination of information, such as one or IP addresses associated with one or more calling servers (having
         communication channels for VoWiFi and/or Internet-based calls between mobile telephones) and/or call
         session information provided by the calling servers that enables a local call to be made to a callee. The
         communications channels also can connect the caller’s mobile telephone with other devices using telephone
         lines in a Public Switched Telephone Network (PSTN). The calling servers can direct calls that are received
         on the communications channels to a gateway leading to the PSTN. The calling servers use the
         communications channels to cooperate with an IP network and the gateway to the PSTN to cause a call
         involving the caller’s mobile telephone to be routed through the IP network and continue to the PSTN. The
         communication channels provided by the calling servers provide the benefit of a local calling area associated
         with the caller’s mobile telephone, both over the IP network and the PSTN. The expression “local calling
         area” may refer generally to where calls may be placed by callers to the PSTN within the local calling area at
         either no additional charge or at a lower additional charge than would be required for calls to numbers that
         are outside of the local calling area. Furthermore, the expression “local calling area” herein may refers to

45
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 47 of 127

                                      CHART A
         where calls may be placed by callers to an IP network within a local calling area that minimizes transmission
         times over the IP network.




46
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 48 of 127

                                                                     CHART A
                                                                     APPENDIX A

         Appendix A demonstrates that, in the Huawei-Google Calling System, direct infringement occurs by using Huawei devices with the
following Google server infrastructures to produce an access code based on a location identifier and/or based on a location pre-associated with a
mobile telephone and which is used by the Huawei devices and Google to initiate a VoWiFi and/or Internet-based call as described in the ‘234 Patent
and defined in the asserted claims, literally and/or under the doctrine of equivalents.



Google-Fi

In the Huawei-Google Calling System, Huawei actively encourages and enables Huawei devices and Google to initiate a VoWiFi call as described in
the ‘234 Patent and defined in the asserted claims, literally and/or under the doctrine of equivalents. In the Huawei-Google Calling System, for
example, the caller’s mobile telephone (e.g., a Huawei Nexus 6p manufactured by Huawei for use by Google with Google Fi) uses the Huawei and/or
Google-Fi hardware, firmware, configuration data, and/or VoWiFi software application to communicate at least one DNS query to the DNS servers
associated with the Google VoWiFi server infrastructure to seek one or more IP network addresses associated with geographically situated calling
servers identified associated with the Google VoWiFi server infrastructure using at least the following exemplary domain name(s):

     •   epdg.epc.mnc260.mcc310.pub.3gppnetwork.org
In the Huawei-Google Calling System, for example, the DNS servers communicate to Huawei devices one or more DNS replies in response to the
DNS queries. In the Huawei-Google Calling System, for example, the DNS servers communicate one or more IP network addresses associated with
geographically situated calling servers to use to initiate the VoWiFi call in at least the following exemplary block(s) of IP network addresses assigned
to the Google server infrastructure and owned or operated by Google:

     •   208.54.0.0/17
In the Huawei-Google Calling System, for example, the DNS servers communicate to the Huawei devices the IP network addresses associated with
the geographically located calling servers to use to initiate the VoWiFi call based on a location identifier and/or based on a location pre-associated
with the Huawei devices.

47
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 49 of 127

                                                                    CHART A
In a set of tests associated with the scenario set forth in Chart A using DNS, an initiating device associated with an IP network address allocated by
an Internet service provider within the following geographic regions communicated one or more DNS requests to the DNS servers using the above
domain names. Appendix A sets forth that DNS replies in response to DNS requests made to the DNS servers by the initiating device (e.g., by
contacting the Google public DNS server at an IP address of 8.8.8.8) result in the initiating device obtaining, from the DNS servers, the IP network
addresses associated with the geographically located calling servers to use to initiate the VoWiFi call based on a location associated with the IP
network address allocated to the initiating device. In the Huawei-Google Calling System, for example, the initiating device also obtains the same IP
network addresses associated with the geographically located calling servers to use to initiate the VoWiFi call based on a location associated with the
IP network address allocated to the initiating device by the initiating device directly contacting the DNS servers associated with Google-Fi.

Appendix A sets forth that, in the Huawei-Google Calling System, the IP network addresses associated with the calling servers across geographic
locations in the following table are being selected based on a location associated with the IP network address allocated to the initiating device. The
following table provides an example of the IP network addresses returned by the DNS servers (together with a count, if available, indicating the
number of times each unique IP address was resolved by the DNS servers).

 California                                                                  Florida
 epdg.epc.mnc260.mcc310.pub.3gppnetwork.org                                  epdg.epc.mnc260.mcc310.pub.3gppnetwork.org
 (epdg.epc.geo.mnc260.mcc310.pub.3gppnetwork.org)                            (epdg.epc.geo.mnc260.mcc310.pub.3gppnetwork.org)
 208.54.148.227                                                              208.54.44.163
 208.54.159.227                                                              208.54.83.96
 208.54.2.163                                                                208.54.85.64
 208.54.2.67
 208.54.39.3
 208.54.39.35



Google Hangouts

48
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 50 of 127

                                                                     CHART A
Huawei actively encourages and enables Huawei devices and Google to initiate an Internet-based call as described in the ‘234 Patent and defined in
the asserted claims, literally and/or under the doctrine of equivalents. In the Huawei-Google Calling System, for example, the caller’s mobile
telephone (e.g., a Huawei Nexus 6p manufactured by Huawei for use by Google with Google Voice/Hangouts/Duo) uses the Google Internet-based
calling client software applications to communicate at least one DNS query to the DNS servers associated with the Google Internet-based calling
server infrastructure to seek one or more IP network addresses associated with one or more geographically situated calling servers identified using
one or more of the following domain names:

     •   googleapis.com
     •   googlevideo.com
In the Huawei-Google Calling System, for example, the DNS servers communicate to the Huawei devices one or more DNS replies in response to the
DNS queries. For example, the DNS servers communicate one or more IP network addresses associated with geographically situated calling servers
to use to initiate the Internet-based call in the following one or more blocks of IP network addresses assigned to the Google server infrastructure and
owned or operated by Google:

     •   172.217.0.0/16
     •   216.58.192/19
Thus, the DNS servers communicate to the Huawei devices the IP network addresses associated with the geographically located calling servers to
initiate the Internet-based call based on a location identifier and/or based on a location pre-associated with the Huawei devices.

In a set of tests associated with the scenario set forth in Chart A using DNS, an initiating device associated with an IP network address allocated by
an Internet service provider within the following geographic regions communicated one or more DNS requests to the DNS servers using the above
domain names. Appendix A sets forth that DNS replies in response to DNS requests made to the DNS servers by the initiating device (e.g., by
contacting the Google public DNS server at an IP address of 8.8.8.8) result in the initiating device obtaining, from the DNS servers, the IP network
addresses associated with the geographically located calling servers to initiate the Internet-based call based on a location associated with the IP
network address allocated to the initiating device. In the Huawei-Google Calling System, for example, the initiating device also obtains the same IP


49
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 51 of 127

                                                                    CHART A
network addresses associated with the geographically located calling servers to initiate the Internet-based call based on a location associated with the
IP network address allocated to the initiating device by the initiating device directly contacting the DNS servers associated with Google Hangouts.

Appendix A sets forth that, in the Huawei-Google Calling System, the IP network addresses associated with the calling servers across geographic
locations in the following table are being selected based on a location associated with the IP network address allocated to the initiating device. The
following table provides an example of the IP network addresses returned by the DNS servers (together with a count, if available, indicating the
number of times each unique IP address was resolved by the Hangouts DNS servers).

 California                                                                  Florida
 googleapis.com                                                              googleapis.com
 googlevideo.com                                                             googlevideo.com
 216.58.194.196                                                              172.217.3.132
 172.217.6.68                                                                172.217.8.100




50
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 52 of 127

                                                                       CHART A
                                                                       APPENDIX B

       Appendix B demonstrates that, in the Huawei-Google Calling System, Huawei purposefully caused or encouraged infringement using
Huawei devices with the Google server infrastructure (whether the Google VoWiFi server infrastructure and/or the Google Internet-based calling
server infrastructure) to produce an access code based on a location identifier and/or based on a location pre-associated with a mobile telephone and
which is used by the Huawei devices and Google to initiate a VoWiFi and/or Internet-based call as described in the ‘234 Patent and defined in the
asserted claims, literally and/or under the doctrine of equivalents.

       For example, Huawei actively encourages and enables users of Huawei devices on the Huawei website through one or more electronic
storefronts to purchase and use Huawei devices with Google. Huawei sells or has sold on their website and/or through Google, Huawei phones
specific to Google in the US (e.g., the Nexus 6P). Huawei actively encourages and enables users of Huawei devices on the Huawei website through
one or more support articles to configure and use Huawei devices with VoWiFi on Google-Fi in the US. Huawei actively encourages and enables
users to make calls and send messages over a Wi-Fi connection when cell service isn't available. Additionally, Huawei actively encourages and
enables users of Huawei devices manufactured specifically for Google on the Google website through one or more support articles to configure and
use Huawei devices to make Internet-based calls and send messages using Google Voice/Hangouts/Duo.

       A=Intentional Encouragement - Specific Instructions On How To Use Accused Feature

       B=Purposeful Causation -Pre-installed Applications That Will Cause Some Users To Infringe

      Category      Third-Party                    Description/URL
 1.   A,B           Google (Google Fi and          Title: Nexus 6P
                    Google Hangouts)
                                                   Huawei actively encourages and enables users of Huawei devices to use their devices with major
                                                   wireless telephone companies in the US. The Nexus 6P is an Android smartphone developed and
                                                   marketed by Google and manufactured by Huawei.



51
                        Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 53 of 127

                                                     CHART A
                                    https://en.wikipedia.org/wiki/Nexus_6P




2.   A,B   All major wireless       Nexus 6P tech specs
           telephone carriers
                                    https://support.google.com/nexus/answer/6102470?hl=en#zippy=%2Cnexus-p
           Google (Google Fi and    https://support.google.com/product-documentation/answer/6301411?hl=en
           Google Hangouts)
3.   A,B   All major GSM carriers
                                    Title: Huawei Mate 20 Pro (GSM Only, No CDMA) Unlocked 6GB RAM 128GB Storage Single
                                    Sim LYA-L09 - International Version/No Warranty – Black


                                    Huawei actively encourages and enables users of Huawei devices to use their devices with major
                                    wireless telephone companies in the US. Huawei sells smartphones through Amazon.


                                    https://www.amazon.com/dp/B07J6NMTVG?asc_campaign=commerce-
                                    pra&asc_refurl=https%3A%2F%2Fwww.businessinsider.com%2Fhow-to-buy-a-huawei-
                                    smartphone-if-you-live-in-united-states-2019-1&asc_source=browser&tag=biauto-43024-20




52
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 54 of 127

                                                                      CHART B
       Huawei Technologies America, Inc. (“Huawei”) infringes the Patents-in-Suit by the “Huawei Cloud Meeting Calling System.” The Huawei
Cloud Meeting Calling System includes desktop computers, laptops, tablets, smartphones, and other mobile devices as well as enterprise to small
office-home office level telephony hardware, software, and cloud-based services manufactured and supported by Huawei. The Huawei Cloud
Meeting Calling System actively encourages and enables users of desktop computers, laptops, tablets, smartphones, and other mobile devices to
participate in mobile telephone roaming as described in U.S. Patent No. 8,630,234 (hereinafter the ‘234 Patent) and set forth in the asserted claims.

       The Huawei Cloud Meeting Calling System includes Huawei Cloud Meeting, or simply Cloud Meeting, which is a cross-platform centralized
messaging and communication (e.g., voice-over-IP) service owned by Huawei. The Huawei Cloud Meeting Calling System allows smartphone and
desktop users to send text messages and voice messages, make voice and video calls, and share images, documents, user locations, and other content.
See https://www.huaweicloud.com/intl/en-us/product/meeting.html.

       In the Huawei Cloud Meeting Calling System, users of the desktop computers, laptops, tablets, smartphones, and mobile devices can send
messages including text, images, video and audio to others using one or more Cloud Meeting client software applications developed by Huawei for
supported devices to communicate with a Huawei server infrastructure owned and operated by Huawei. The Cloud Meeting client software
applications running on most supported devices includes Huawei Calling, which is a voice and video calling feature incorporating techniques
described in the ‘234 Patent. Additionally, in the Huawei Cloud Meeting Calling System, the Huawei server infrastructure includes one or more
communication networks, one or more servers, one or more services, and/or one or more other resources associated with the Huawei server
infrastructure and using Cloud Meeting server software applications developed by Huawei to implement setup, routing, and delivery of non-real time
(e.g., messages) and real time (e.g., voice and video calls) communication to and from the supported devices using the Cloud Meeting client software
applications. The Cloud Meeting server software applications running on servers owned and/or operated by Huawei include the Huawei Calling
feature incorporating techniques described in the ‘234 Patent.

       Chart B applies independent claim 30 of the ‘234 Patent to the Huawei Cloud Meeting Calling System.

       Chart B demonstrates that in the Huawei Cloud Meeting Calling System, the Huawei server infrastructure owned and/or operated by Huawei
produces an access code based on a location identifier and/or based on a location pre-associated with a mobile telephone and which is used by the
mobile telephone to initiate a call as described in the ‘234 Patent and defined in the asserted claims, literally and/or under the doctrine of equivalents.
1
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 55 of 127

                                                                     CHART B
In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure produces an access code comprising one or more
portions and/or a combination of information, for example, an access code comprising information identifying one or more Internet Protocol (IP)
network addresses associated with one or more Huawei Calling servers in the Huawei server infrastructure and/or call session information obtained
via one or more Huawei Calling servers in the Huawei server infrastructure. The call session information, for example, identifies a communications
channel usable by the mobile telephone to cause a routing controller (e.g., one or more Huawei Calling servers in the Huawei server infrastructure) to
establish a call to a callee using the channel. Thus, the Huawei server infrastructure enables mobile telephone roaming using the access code as
described in the ‘234 Patent and defined in the asserted claims, literally and/or under the doctrine of equivalents.

       Chart B uses one scenario of infringement as an example to demonstrate how elements of the asserted claims read on the use of a domain
name system (DNS) associated with the Huawei Cloud Meeting Calling System to produce one or more portions and/or combinations of information
representing an access code that is based on a location identifier and/or based on a location pre-associated with the mobile telephone and that
identifies one or more Internet Protocol (IP) network addresses associated with one or more Huawei Calling server in the Huawei server
infrastructure and/or call session information obtained via the one or more Huawei Calling servers to enable mobile telephone roaming as described
in the ‘234 Patent and defined in the asserted claims, literally and/or under the doctrine of equivalents. The scenario set forth in Chart B using DNS
is one example made without limitation to one or more additional scenarios of infringement, which may be described in other charts using at least
some of the components and/or processes associated with the Huawei Cloud Meeting Calling System already identified in Chart B, further
demonstrating how the asserted claims read, literally and/or under the doctrine of equivalents, on the Huawei Cloud Meeting Calling System.




2
                               Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 56 of 127

                                                                    CHART B
                                                           U.S. Patent No. 8,630,234
30.   [30p] A method for enabling   The Huawei Cloud Meeting Calling System includes a method for enabling mobile telephone roaming.
      mobile telephone roaming,
      the method comprising:        In the Huawei Cloud Meeting Calling System, for example, roaming with a mobile telephone (e.g., a caller’s
                                    mobile telephone) as described in the ‘234 Patent and defined in the method of claim 30 is performed,
                                    literally and/or under the doctrine of equivalents, by the caller’s mobile telephone communicating with the
                                    Huawei server infrastructure owned and/or operated by Huawei, which includes:
                                       •   One or more Huawei domain name system (DNS) servers associated with the Huawei server
                                           infrastructure that provide a naming system for one or more communication networks, one or more
                                           servers, one or more services, and/or other resources associated with the Huawei server infrastructure
                                           and using Cloud Meeting server software applications developed by Huawei to implement
                                           initialization, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and
                                           video calls) communication to and from supported devices using the Cloud Meeting client software
                                           applications. The Huawei DNS servers associate domain names used by the Cloud Meeting client
                                           software application with various information (such as IP network addresses) that provide access to
                                           the communication networks, servers, services, and/or other resources associated with the Huawei
                                           server infrastructure.
                                       •   One or more Huawei Calling servers associated with the Huawei server infrastructure that provide
                                           setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video
                                           calls) communication to and from supported devices using the Cloud Meeting client software
                                           applications. The Huawei Calling servers include the Cloud Meeting server software applications
                                           developed by Huawei and provide access to exchange messages (including chats, group chats,
                                           images, videos, voice messages and files) and make Cloud Meeting calls (voice and video) around the
                                           world.

3
    Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 57 of 127

                                    CHART B




        https://support.huaweicloud.com/intl/en-us/productdesc-meeting/productdesc.html
        https://support.huaweicloud.com/intl/en-us/productdesc-meeting/meeting-productdesc.pdf (“HUAWEI
        CLOUD MEETING: Service Overview”).


        In the Huawei Cloud Meeting Calling System, for example, roaming with a mobile telephone (e.g., a caller’s
        mobile telephone) is performed when the Huawei server infrastructure owned and operated by Huawei
        produces an access code based on a location identifier and/or based on a location pre-associated with the
        mobile telephone and which is used by the mobile telephone to initiate a call as described in the ‘234 Patent
        and defined in claim 30, literally and/or under the doctrine of equivalents. In the Huawei Cloud Meeting
        Calling System, the caller’s mobile telephone starts a Cloud Meeting call using the Cloud Meeting client
        software application. The caller’s mobile telephone uses the Cloud Meeting client software application to

4
                             Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 58 of 127

                                                              CHART B
                                 establish communication with and through the Huawei server infrastructure to initiate the Cloud Meeting call
                                 to one or more devices and/or destinations (e.g., a callee’s mobile telephone).


    [30a-1] receiving from the   The Huawei Cloud Meeting Calling System receives from the mobile telephone an access code request
    mobile telephone an access   message. In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure
    code request message         includes and/or performs this element using the Cloud Meeting server software application to provide setup,
                                 routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video calls)
                                 communication to and from supported devices using the Cloud Meeting client software applications.


                                 In the Huawei Cloud Meeting Calling System, for example, the caller’s mobile telephone uses the Cloud
                                 Meeting client software application to communicate (or cause to be communicated) one or more parts,
                                 portions, and/or combinations of information associated with an access code request message, In the Huawei
                                 Cloud Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud Meeting server
                                 software application to obtain (or cause to be obtained) the parts, portions, and/or combinations of
                                 information associated with the access code request message and associated with the callee’s mobile
                                 telephone and to use this information at one or more access servers associated with the Huawei server
                                 infrastructure:
                                    •   In one or more communications and/or a combination of communications associated with receiving
                                        from the mobile telephone an access code request message, the Huawei server infrastructure uses the
                                        Cloud Meeting server software application to receive and process (or cause to be received), at one or
                                        more of the Huawei DNS servers, the communications and/or combination of communications
                                        associated with the callee’s mobile telephone. For example, the Huawei DNS servers may obtain (or
                                        cause to be obtained) communication(s) requesting the Huawei DNS servers to provide access to the
                                        communication networks, the servers, the services, and/or the other resources associated with the

5
    Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 59 of 127

                                    CHART B
               Huawei server infrastructure, such as to exchange a message or setup and initiate a Cloud Meeting
               call. The information requesting the Huawei DNS servers to provide access may be communicated
               using one or more packets produced (or caused to be produced) by the caller’s mobile telephone, and
               may comprise one or more DNS queries that query the Huawei DNS servers for one or more IP
               network addresses associated with one or more of the Huawei Calling servers. In the Huawei Cloud
               Meeting Calling System, for example, the Huawei server infrastructure obtains at least one DNS
               query asking the Huawei DNS servers for the IP network addresses associated with the Huawei
               Calling servers geographically situated relative to the caller’s mobile telephone based on a location
               associated with the caller’s mobile telephone. For example, the Huawei server infrastructure obtains
               at least one DNS query using one or more domain names associated with the Huawei server
               infrastructure to obtain the IP network address(es) associated with the geographically situated Huawei
               Calling servers at one or more domain names and one or more blocks of IP network addresses owned
               by Huawei and used by the Cloud Meeting client software application. Examples of obtaining the IP
               network addresses associated with the geographically situated Huawei Calling servers, are set forth in
               Appendix A. Additionally, Appendix A sets forth that one or more communications to the Huawei
               DNS servers using the domain names owned by Huawei, for example, based on the location
               associated with the communications, results in obtaining one or more IP network addresses associated
               with the blocks of IP network addresses owned by Huawei and geographically situated Huawei
               Calling servers associated with the Huawei server infrastructure.
           •   In the Huawei Cloud Meeting Calling System, for example, the Huawei Calling servers provide
               access to the Cloud Meeting server software applications developed by Huawei to exchange messages
               (including chats, group chats, images, videos, voice messages and files) and make Cloud Meeting
               calls (voice and video). For example, the Huawei Calling servers obtain the communications and/or
               combination of communications associated with the callee’s mobile telephone as information

6
    Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 60 of 127

                                     CHART B
               requesting the Huawei Calling servers to provide access to exchange a message or setup and initiate a
               Cloud Meeting call. In the Huawei Cloud Meeting Calling System, for example, the information
               requesting the Huawei Calling servers to provide access includes and/or is communicated using one
               or more packets produced (or caused to be produced) by the caller’s mobile telephone, the packet(s)
               comprising information asking one or more geographically situated Huawei Calling servers for call
               session information. For example, the caller’s mobile telephone and the geographically situated
               Huawei Calling servers can communicate to establish the call session information to select and
               connect to a calling gateway, establish signaling, establish a media port and provide connectivity
               negotiation with calling gateway and/or peer-to-peer using protocols such as ICE/STUN/TURN, and
               initiate via the calling gateway a Cloud Meeting call, a Huawei group/conference call, and/or a PSTN
               call with the callee identified by the callee identifier. See, e.g.,
               https://support.huaweicloud.com/intl/en-us/productdesc-meeting/productdesc.html (“What is
               HUAWEI CLOUD Meeting?”).


        Individually or in combination with other information, the Huawei server infrastructure using the Cloud
        Meeting server software application to receive and process the information requesting the Huawei DNS
        servers to provide access to the communication networks, the servers, the services, and/or the other resources
        associated with the Huawei server infrastructure to exchange a message or setup and initiate a Cloud Meeting
        call and/or to receive and process the information requesting the Huawei Calling servers to provide access to
        exchange a message or setup and initiate a Cloud Meeting call, are examples of receiving from the mobile
        telephone an access code request message as set forth in this element.




7
                                 Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 61 of 127

                                                                  CHART B
    [30a-2] including a callee       The Huawei Cloud Meeting Calling System receives from the mobile telephone an access code request
    identifier associated with the   message, where the access code request message includes a callee identifier associated with the callee. In the
    callee and                       Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure includes and/or
                                     performs this element using the Cloud Meeting server software application to provide setup, routing, and
                                     delivery of non-real time (e.g., messages) and real time (e.g., voice and video calls) communication to and
                                     from supported devices using the Cloud Meeting client software applications.


                                     In the Huawei Cloud Meeting Calling System, for example, the caller’s mobile telephone uses the Cloud
                                     Meeting client software application to communicate (or cause to be communicated) an access code request
                                     message comprising one or more parts, portions, and/or combinations of information. In the Huawei Cloud
                                     Meeting Calling System, for example, composing a message or initiating a Cloud Meeting call using the
                                     Cloud Meeting client software application begins with a user entering of a callee’s mobile telephone
                                     identifier associated with a callee’s mobile telephone with which the user wishes to communicate. In the
                                     Huawei Cloud Meeting Calling System, for example, the user input, which may comprise a partial or
                                     complete name, email address, telephone number, or device identifier, is input directly and/or indirectly into
                                     a contact list search box, on a touch screen displaying contacts to obtain the callee’s mobile telephone
                                     identifier, and/or via voice command. In the Huawei Cloud Meeting Calling System, for example, the user
                                     input associated with the caller’s mobile telephone comprises one or more user names, email addresses,
                                     device identifiers, and/or telephone numbers associated with the callee’s mobile telephone with which the
                                     user wishes to communicate. In the Huawei Cloud Meeting Calling System, for example, the caller’s mobile
                                     telephone uses the Cloud Meeting client software application to obtain the user name(s), email address(es),
                                     device identifier(s), and/or telephone number(s) associated with the callee’s mobile telephone with which the
                                     user wishes to communicate from the user input associated with the caller’s mobile telephone.



8
    Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 62 of 127

                                     CHART B
        See: https://support.huaweicloud.com/intl/en-us/productdesc-meeting/meeting-productdesc.pdf (“HUAWEI
        CLOUD MEETING: Service Overview”). The Huawei Cloud Meeting Calling System supports users
        “calling other numbers of themselves” and “calling other numbers of a participant” in a meeting. Id. at page
        4. See also: https://www.huaweicloud.com/en-us/product/privatenumber.html (“Private Number” product
        feature supports real phone numbers and virtualized numbers such as anonymous phone numbers for calling
        and texting)


        In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud
        Meeting server software application to receive (or cause to be received) the parts, portions, and/or
        combinations of information associated with the access code request message as set forth in element [30a-1].
        In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud
        Meeting server software application to obtain (or cause to be obtained) the parts, portions, and/or
        combinations of information associated with the access code request message using the communications
        and/or combination of communications associated with the callee’s mobile telephone with one or more
        access servers and/or a combination of access servers associated with the Huawei server infrastructure:
           •   In one or more communications and/or a combination of communications associated with receiving
               from the mobile telephone an access code request message, the Huawei server infrastructure uses the
               Cloud Meeting server software application to obtain (or cause to be obtained) the communications
               and/or combination of communications associated with the callee’s mobile telephone interacting with
               one or more of the Huawei DNS servers. In the Huawei Cloud Meeting Calling System, for example,
               the Huawei server infrastructure obtains at least one DNS query using one or more domain names
               associated with the Huawei server infrastructure to obtain the IP network addresses associated with
               the geographically situated Huawei Calling servers. In the Huawei Cloud Meeting Calling System, for
               example, the DNS query includes the callee identifier associated with the callee and used by the

9
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 63 of 127

                                      CHART B
                Huawei DNS servers to obtain the IP network addresses associated with the geographically situated
                Huawei Calling servers.
            •   In one or more communications and/or a combination of communications associated with receiving
                from the wireless device an access code request message, the Huawei server infrastructure uses the
                Cloud Meeting server software application to obtain (or cause to be obtained) the communications
                and/or combination of communications associated with the callee’s mobile telephone interacting with
                one or more of the Huawei Calling servers. In the Huawei Cloud Meeting Calling System, for
                example, the packets communicated from (or caused to be communicate by) the callee’s mobile
                telephone with the Huawei Calling servers comprise information asking one or more geographically
                situated Huawei Calling servers for call session information. In the Huawei Cloud Meeting Calling
                System, for example, information asking one or more geographically situated Huawei Calling servers
                for call session information includes the callee identifier associated with the callee. In the Huawei
                Cloud Meeting Calling System, for example, the caller’s mobile telephone and the geographically
                situated Huawei Calling servers communicate to establish the call session information using the callee
                identifier associated with the callee.


         Individually or in combination with other information, the Huawei server infrastructure using the Cloud
         Meeting server software application to obtain the information requesting the Huawei DNS servers to provide
         access to the communication networks, the servers, the services, and/or the other resources associated with
         the Huawei server infrastructure to exchange a message or setup and initiate a Cloud Meeting call and/or the
         information requesting the Huawei Calling servers to provide access to exchange a message or setup and
         initiate a Cloud Meeting call, wherein the request(s) for access identify a user name, email address, telephone
         number, and/or a device identifier associated with the called party, are examples of receiving from the mobile



10
                                Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 64 of 127

                                                                   CHART B
                                     telephone an access code request message, where the access code request message includes including a callee
                                     identifier associated with the callee as set forth in this element.


     [30a-3] a location identifier   The Huawei Cloud Meeting Calling System receives from the mobile telephone an access code request
     separate and distinctive from   message, where the access code request message includes a location identifier separate and distinctive from
     said callee identifier,         said callee identifier. In the Huawei Cloud Meeting Calling System, for example, the Huawei server
                                     infrastructure includes and/or performs this element using the Cloud Meeting server software application to
                                     provide setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video
                                     calls) communication to and from supported devices using the Cloud Meeting client software applications.


                                     In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud
                                     Meeting server software application to receive (or cause to be received) the parts, portions, and/or
                                     combinations of information associated with the access code request message as set forth in element [30a-1].
                                     In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud
                                     Meeting server software application to obtain (or cause to be obtained) the parts, portions, and/or
                                     combinations of information associated with the access code request message using the communications
                                     and/or combination of communications associated with the callee’s mobile telephone interacting with one or
                                     more access servers and/or a combination of access servers associated with the Huawei server infrastructure:
                                        •   In one or more communications and/or a combination of communications associated with receiving
                                            from the mobile telephone an access code request message, the Huawei server infrastructure uses the
                                            Cloud Meeting server software application to obtain (or cause to be obtained) the communications
                                            and/or combination of communications associated with the callee’s mobile telephone interacting with
                                            one or more of the Huawei DNS servers. For example, the Huawei server infrastructure obtains at
                                            least one DNS query asking the Huawei DNS servers for the IP network addresses associated with the

11
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 65 of 127

                                      CHART B
                Huawei Calling servers geographically situated relative to the caller’s mobile telephone based on the
                location of the caller’s mobile telephone. The Huawei DNS servers use one or more IP network
                addresses directly and/or indirectly associated with the caller’s mobile telephone as a location
                identifier of the mobile telephone. The IP network addresses directly and/or indirectly associated with
                the caller’s mobile telephone are separate and distinctive from the callee identifier as set forth in
                element [30a-2].
            •   In one or more communications and/or a combination of communications associated with receiving
                from the wireless device an access code request message, the Huawei server infrastructure uses the
                Cloud Meeting server software application to obtain (or cause to be obtained) the communications
                and/or combination of communications associated with the callee’s mobile telephone interacting with
                one or more of the Huawei Calling servers. For example, the caller’s mobile telephone and the
                geographically situated Huawei Calling servers communicate to establish the call session information,
                which may involve using the location identifier identifying a location of the mobile telephone. The
                Huawei Calling servers, for example, use one or more IP network addresses directly and/or indirectly
                associated with the caller’s mobile telephone and/or current or pre-associated location information
                associated with the caller’s mobile telephone as a location identifier identifying a geographical
                location of the mobile telephone. The IP network addresses directly and/or indirectly associated with
                the caller’s mobile telephone and/or the current or pre-associated location information associated with
                the caller’s mobile telephone are separate and distinctive from the callee identifier as set forth in
                element [30a-2].


         Individually or in combination with other information, the Huawei server infrastructure using the Cloud
         Meeting server software application to obtain the information requesting the Huawei DNS servers to provide
         access to the communication networks, the servers, the services, and/or the other resources associated with

12
                              Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 66 of 127

                                                                CHART B
                                  the Huawei server infrastructure to exchange a message or setup and initiate a Cloud Meeting call and/or the
                                  information requesting the Huawei Calling servers to provide access to exchange a message or setup and
                                  initiate a Cloud Meeting call, for example, where the Huawei Cloud Meeting Calling System receives one or
                                  more IP network addresses identifying the mobile telephone’s location and/or receives a current or pre-
                                  associated location associated with the caller’s mobile telephone, are examples of receiving from the mobile
                                  telephone an access code request message, where the access code request message includes a location
                                  identifier separate and distinctive from said callee identifier as set forth in this element.


     [30a-4] identifying a        The Huawei Cloud Meeting Calling System receives from the mobile telephone an access code request
     location of the mobile       message, where the access code request message includes a location identifier identifying a location of the
     telephone;                   mobile telephone. In the Huawei Cloud Meeting Calling System, for example, the Huawei server
                                  infrastructure includes and/or performs this element using the Cloud Meeting server software application to
                                  provide setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video
                                  calls) communication to and from supported devices using the Cloud Meeting client software applications.


                                  In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud
                                  Meeting server software application to receive (or cause to be received) the parts, portions, and/or
                                  combinations of information associated with the access code request message as set forth in element [30a-1].
                                  For example, the Huawei server infrastructure uses the Cloud Meeting server software application to obtain
                                  (or cause to be obtained) the parts, portions, and/or combinations of information associated with the access
                                  code request message using the communications and/or combination of communications associated with the
                                  callee’s mobile telephone with one or more access servers and/or a combination of access servers associated
                                  with the Huawei server infrastructure:



13
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 67 of 127

                                     CHART B
            •   In one or more communications and/or a combination of communications associated with receiving
                from the mobile telephone an access code request message, the Huawei server infrastructure uses the
                Cloud Meeting server software application to obtain (or cause to be obtained) the communications
                and/or combination of communications associated with the callee’s mobile telephone interacting with
                one or more of the Huawei DNS servers. For example, the Huawei server infrastructure obtains at
                least one DNS query asking the Huawei DNS servers for the IP network addresses associated with the
                Huawei Calling servers geographically situated relative to the caller’s mobile telephone based on the
                location of the caller’s mobile telephone. The Huawei DNS servers use one or more IP network
                addresses directly and/or indirectly associated with the caller’s mobile telephone as a location
                identifier of the mobile telephone. The IP network addresses directly and/or indirectly associated with
                the caller’s mobile telephone identify one or more locations associated with the mobile telephone.
            •   In one or more communications and/or a combination of communications associated with receiving
                from the wireless device an access code request message, the Huawei server infrastructure uses the
                Cloud Meeting server software application to obtain (or cause to be obtained) the communications
                and/or combination of communications associated with the callee’s mobile telephone interacting with
                one or more of the Huawei Calling servers. In the Huawei Cloud Meeting Calling System, for
                example, the caller’s mobile telephone and the geographically situated Huawei Calling servers
                communicate to establish the call session information. In the Huawei Cloud Meeting Calling System,
                for example, the caller’s mobile telephone and the geographically situated Huawei Calling servers
                communicate to establish the call session information using the location identifier identifying a
                location of the mobile telephone. The Huawei Calling servers, for example, use one or more IP
                network addresses directly and/or indirectly associated with the caller’s mobile telephone and/or a
                current or pre-associated location information associated with the caller’s mobile telephone as a
                location identifier identifying a geographical location of the mobile telephone.

14
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 68 of 127

                                         CHART B

         The IP network addresses directly and/or indirectly associated with the caller’s mobile telephone identify a
         location associated with the caller’s mobile telephone, for example, as one or more absolute and relative
         locations:
            •   an actual geographic location associated with the caller’s mobile telephone, which is identified by an
                IP network address assigned to the caller’s mobile telephone by a service provider, such as a wireless
                carrier or Internet Service Provider (ISP);
            •   an actual geographic location associated with the caller’s mobile telephone, which is identified by an
                IP network address assigned to a router by a service provider, such as a wireless carrier or ISP, and
                through which the caller’s mobile telephone directly or indirectly communicates with the Huawei
                server infrastructure;
            •   an actual geographic location associated with the caller’s mobile telephone, which is identified by an
                IP network address assigned to a proxy server by a service provider independent of the Huawei server
                infrastructure, such as a wireless carrier or ISP, and which is physically located at an office/data
                center owned or leased by the service provider or a customer of the service provider and through
                which the caller’s mobile telephone directly or indirectly communicates with the Huawei server
                infrastructure;
            •   a relative geographic location associated with the caller’s mobile telephone, which is identified using
                a location physically or logically relative to the Huawei server infrastructure by an IP network address
                assigned by a service provider independent of the Huawei server infrastructure to the caller’s mobile
                telephone, a router through which the caller’s mobile telephone communicates with the Huawei server
                infrastructure, or a proxy server through which the caller’s mobile telephone communicates with the
                Huawei server infrastructure;



15
                             Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 69 of 127

                                                                CHART B
                                      •   a proximate location associated with the caller’s mobile telephone, which is identified using a location
                                          physically or logically approximate to the Huawei server infrastructure by an IP network address
                                          assigned by a service provider independent of the Huawei server infrastructure to the caller’s mobile
                                          telephone, a router through which the caller’s mobile telephone communicates with the Huawei server
                                          infrastructure, or a proxy server through which the caller’s mobile telephone communicates with the
                                          Huawei server infrastructure.
                                   The current or pre-associated location information associated with the caller’s mobile telephone identify a
                                   location associated with the caller’s mobile telephone, such as one or more absolute and relative locations as:
                                      •   a physical location, such as a street address, latitude/longitude, and GPS coordinates.
                                      •   a logical or virtual location, such as a communications network, Internet Service Provider, Wireless
                                          Service Provider, and Wireless Carrier.


                                   Individually or in combination with other information, the Huawei server infrastructure using the Cloud
                                   Meeting server software application to obtain the information requesting the Huawei DNS servers to provide
                                   access to the communication networks, the servers, the services, and/or the other resources associated with
                                   the Huawei server infrastructure to exchange a message or setup and initiate a Cloud Meeting call and/or the
                                   information requesting the Huawei Calling servers to provide access to exchange a message or setup and
                                   initiate a Cloud Meeting call, relying on location information as discussed above, are examples of receiving
                                   from the mobile telephone an access code request message, where the access code request message includes a
                                   location identifier identifying a location of the mobile telephone as set forth in this element.


     [30b-1] producing an access   The Huawei Cloud Meeting Calling System produces an access code identifying a communication channel
     code identifying a            based on said location identifier and/or based on a location pre-associated with the mobile telephone. In the
     communication channel         Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure includes and/or

16
                               Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 70 of 127

                                                                CHART B
     based on said location         performs this element using the Cloud Meeting server software application to provide setup, routing, and
     identifier and/or based on a   delivery of non-real time (e.g., messages) and real time (e.g., voice and video calls) communication to and
     location pre-associated with   from supported devices using the Cloud Meeting client software applications.
     the mobile telephone,
                                    In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud
                                    Meeting server software application to obtain (or cause to be obtained) an access code request message as set
                                    forth in element [30a et seq]. In response to the access code request message, for example, the Huawei server
                                    infrastructure produces an access code reply message using the parts, portions, and/or combinations of
                                    information associated with the access code request message communicated from (or caused to be
                                    communicate by) the callee’s mobile telephone. The Huawei server infrastructure uses the Cloud Meeting
                                    server software application to produce (or cause to be produced) one or more parts, portions, and/or
                                    combinations of information associated with the access code reply message, such including an access code
                                    using one or more access servers and/or a combination of access servers associated with the Huawei server
                                    infrastructure:
                                       •   In one or more operations associated with producing an access code, the Huawei server infrastructure
                                           uses the Cloud Meeting server software application to produce (or cause to be produced) one or more
                                           communications and/or a combination of communications associated with one or more of the Huawei
                                           DNS servers, for example, the Huawei DNS servers produce (or cause to be produced) information
                                           associated with providing access to the communication networks, the servers, the services, and/or the
                                           other resources associated with the Huawei server infrastructure. For example, the Huawei DNS
                                           servers produce (or cause to be produced) information to provide access to the communication
                                           networks, the servers, the services, and/or the other resources associated with the Huawei server
                                           infrastructure to exchange a message or setup and initiate a Cloud Meeting call. The information
                                           produced by the Huawei DNS servers to provide access includes and/or is communicated using one or

17
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 71 of 127

                                     CHART B
                more packets produced (or caused to be produced) by the Huawei DNS servers. For example, the
                packets communicated from (or caused to be communicate by) the Huawei DNS servers include one
                or more DNS replies that respond to the DNS queries associated with the caller’s mobile telephone by
                providing the mobile telephone with one or more IP network addresses associated with Huawei
                Calling servers geographically situated relative to the caller’s mobile telephone based on the location
                of the caller’s mobile telephone. In the Huawei Cloud Meeting Calling System, for example, the
                Huawei DNS servers produce at least one DNS reply that identifies the IP network addresses
                associated with one or more geographically situated Huawei Calling servers using one or more
                domain names associated with the Huawei server infrastructure. For example, the Huawei DNS
                servers produce at least one DNS reply identifying, to the caller’s mobile telephone, one or more
                Huawei Calling servers that are geographically situated with respect to the caller’s mobile telephone
                (via identifying the IP network addresses associated with the geographically situated Huawei Calling
                servers), based on the geographic location associated with the caller’s mobile telephone. Additionally,
                the Huawei DNS servers, for example, identify the geographically situated Huawei Calling servers to
                the caller’s mobile telephone as having one or more communications channels through which
                communications between the caller’s mobile telephone and the callee’s mobile telephone can be
                conducted (via identifying the IP network addresses associated with the geographically situated
                Huawei Calling servers).
            •   In one or more operations associated with producing an access code, the Huawei server infrastructure
                uses the Cloud Meeting server software application to produce (or cause to be produced) one or more
                communications and/or a combination of communications associated with one or more of the
                geographically situated Huawei Calling servers identified by the Huawei DNS servers. In the Huawei
                Cloud Meeting Calling System, for example, the Huawei Calling servers provide access to exchange
                messages (including chats, group chats, images, videos, voice messages and files) and access to

18
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 72 of 127

                                     CHART B
                making Cloud Meeting calls (voice and video). For example, the Huawei Calling servers produce (or
                caused to be produced) call session information associated with the communications and/or the
                combination of communications to provide access to exchange messages and make Cloud Meeting
                calls. The call session information produced by the Huawei Calling servers to provide access to
                exchange messages and make Cloud Meeting calls may include and/or is communicated using one or
                more packets produced (or caused to be produced) by the Huawei Calling servers, wherein the
                packet(s) include call session information associated with the Huawei Calling servers in response to a
                request for call session information associated with the caller’s mobile telephone. In the Huawei
                Cloud Meeting Calling System, for example, the call session information associated with the Huawei
                Calling servers includes the IP network addresses associated with the geographically situated Huawei
                Calling servers. The geographically situated Huawei Calling servers produce the call session
                information to identify, to the caller’s mobile telephone, the Huawei Calling servers as geographically
                situated with respect to the caller’s mobile telephone using the IP network addresses associated with
                the geographically situated Huawei Calling servers. In the Huawei Cloud Meeting Calling System, for
                example, the geographically situated Huawei Calling servers produce the call session information
                based on the geographic location associated with the caller’s mobile telephone. The geographically
                situated Huawei Calling servers, additionally, produce the call session information to identify, to the
                caller’s mobile telephone, one or more communications channels through which communications
                between the caller’s mobile telephone and the callee’s mobile telephone can be conducted.


         Individually or in combination with other information, the Huawei server infrastructure using the Cloud
         Meeting server software application to produce the information produced by the Huawei DNS servers to
         provide access to the communication networks, the servers, the services, and/or the other resources associated
         with the Huawei server infrastructure to exchange a message or setup and initiate a Cloud Meeting call and/or

19
                                Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 73 of 127

                                                                 CHART B
                                    to communicate the call session information produced by the Huawei Calling servers to provide access to
                                    exchange a message or setup and initiate a Cloud Meeting call, wherein the information produced to provide
                                    access to the Huawei Cloud Meeting Callings System is based on a location associated with the mobile
                                    telephone, are examples of producing an access code identifying a communication channel based on said
                                    location identifier and/or based on a location pre-associated with the mobile telephone as set forth in this
                                    element.


     [30b-2] said access code       The Huawei Cloud Meeting Calling System produces an access code, said access code being different from
     being different from the       the callee identifier. In the Huawei Cloud Meeting Calling System, for example, the Huawei server
     callee identifier and          infrastructure includes and/or performs this element using the Cloud Meeting server software application to
                                    provide setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video
                                    calls) communication to and from supported devices using the Cloud Meeting client software applications.


                                    In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud
                                    Meeting server software application to produce (or cause to be produced) one or more parts, portions, and/or
                                    combinations of information associated with the access code reply message, such as an access code as set
                                    forth in element [30b-1]. For example, the Huawei server infrastructure uses the Cloud Meeting server
                                    software application to produce (or cause to be produced) the parts, portions, and/or combinations of
                                    information associated with the access code reply message (and the access code) using one or more access
                                    servers associated with the Huawei server infrastructure:
                                       •   In one or more operations associated with producing an access code, the Huawei server infrastructure
                                           uses the Cloud Meeting server software application to produce (or cause to be produced) one or more
                                           communications and/or a combination of communications associated with one or more of the Huawei
                                           DNS servers. In the Huawei Cloud Meeting Calling System, for example, the Huawei DNS servers

20
                                    Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 74 of 127

                                                                      CHART B
                                               produce at least one DNS reply that identifies the IP network addresses associated with one or more
                                               geographically situated Huawei Calling servers using one or more domain names associated with the
                                               Huawei server infrastructure. The IP network addresses associated with one or more geographically
                                               situated Huawei Calling servers are different from the callee identifier as set forth in element [30a-2].
                                           •   Furthermore, in the Huawei Cloud Meeting Calling System, for example, the geographically situated
                                               Huawei Calling servers produce the call session information to identify, to the caller’s mobile
                                               telephone, the Huawei Calling servers as geographically situated with respect to the caller’s mobile
                                               telephone using the IP network addresses associated with the geographically situated Huawei Calling
                                               servers. In the Huawei Cloud Meeting Calling System, the geographically situated Huawei Calling
                                               servers produce call session information that is different from the callee identifier as set forth in
                                               element [30a-2].


                                        Individually or in combination with other information, the Huawei server infrastructure using the Cloud
                                        Meeting server software application to produce the information by the Huawei DNS servers to provide access
                                        to the communication networks, the servers, the services, and/or the other resources associated with the
                                        Huawei server infrastructure to exchange a message or setup and initiate a Cloud Meeting call and/or the
                                        information by the Huawei Calling servers to provide access to the Huawei server infrastructure to exchange
                                        a message or setup and initiate a Cloud Meeting call, are examples of producing an access code, said access
                                        code being different from the callee identifier as set forth in this element.


     [30b-3] useable by the             The Huawei Cloud Meeting Calling System produces an access code, said access code useable by the mobile
     mobile telephone to initiate a telephone to initiate a call to the callee using the channel. The Huawei server infrastructure includes and/or
     call to the callee using the       performs this element using the Cloud Meeting server software application to provide setup, routing, and
     channel, and

21
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 75 of 127

                                     CHART B
         delivery of non-real time (e.g., messages) and real time (e.g., voice and video calls) communication to and
         from supported devices using the Cloud Meeting client software applications.


         For example, the Huawei server infrastructure uses the Cloud Meeting server software application to produce
         (or cause to be produced) one or more parts, portions, and/or combinations of information associated with the
         access code reply message, such as an access code as set forth in element [30b-1]. In the Huawei Cloud
         Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud Meeting server
         software application to produce (or cause to be produced) the parts, portions, and/or combinations of
         information associated with the access code reply message (and the access code) using one or more access
         servers associated with the Huawei server infrastructure:
            •   In one or more operations associated with producing an access code, the Huawei server infrastructure
                uses the Cloud Meeting server software application to produce (or cause to be produced) one or more
                communications and/or a combination of communications associated with one or more of the Huawei
                DNS servers. In the Huawei Cloud Meeting Calling System, for example, the Huawei DNS servers
                produce at least one DNS reply that identifies the IP network addresses associated with one or more
                geographically situated Huawei Calling servers using one or more domain names associated with the
                Huawei server infrastructure. In the Huawei Cloud Meeting Calling System, for example, the IP
                network addresses associated with one or more geographically situated Huawei Calling servers are
                useable by the mobile telephone to initiate a call to the callee using the channel.
            •   In one or more operations associated with producing an access code, the Huawei server infrastructure
                uses the Cloud Meeting server software application to produce (or cause to be produced) one or more
                communications and/or a combination of communications associated with one or more of the
                geographically situated Huawei Calling servers identified by the Huawei DNS servers. For example,
                the geographically situated Huawei Calling servers produce the call session information to identify, to

22
                              Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 76 of 127

                                                                 CHART B
                                           the caller’s mobile telephone, the Huawei Calling servers as geographically situated with respect to
                                           the caller’s mobile telephone using the IP network addresses associated with the geographically
                                           situated Huawei Calling servers. For example, the geographically situated Huawei Calling servers
                                           produce call session information, which may be useable by the mobile telephone to initiate a call to
                                           the callee using the channel.


                                   Individually or in combination with other information, the Huawei server infrastructure using the Cloud
                                   Meeting server software application to produce the information by the Huawei DNS servers, such as
                                   information identifying suitable Huawei Calling servers that is useable by the mobile telephone to receive
                                   access to the communication networks, the servers, the services, and/or the other resources associated with
                                   the Huawei server infrastructure to exchange a message or setup and initiate a Cloud Meeting call, and/or
                                   producing the information by the Huawei Calling servers, such as call session information that is useable by
                                   the mobile telephone to enable the telephone to receive access to exchange a message or setup and initiate a
                                   Cloud Meeting call, are examples of producing an access code, said access code being useable by the mobile
                                   telephone to initiate a call to the callee using the channel as set forth in this element.


     [30b-4] wherein said access   The Huawei Cloud Meeting Calling System produces an access code, wherein said access code expires after
     code expires after a period of a period of time. In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure
     time and                      includes and/or performs this element using the Cloud Meeting server software application to provide setup,
                                   routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video calls)
                                   communication to and from supported devices using the Cloud Meeting client software applications.


                                   In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud
                                   Meeting server software application to produce (or cause to be produced) one or more parts, portions, and/or

23
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 77 of 127

                                     CHART B
         combinations of information associated with the access code reply message, such as an access code as set
         forth in element [30b-1], using one or more access servers associated with the Huawei server infrastructure:
            •   In one or more operations associated with producing an access code, the Huawei server infrastructure
                uses the Cloud Meeting server software application to produce (or cause to be produced) one or more
                communications and/or a combination of communications associated with one or more of the Huawei
                DNS servers. In the Huawei Cloud Meeting Calling System, for example, the Huawei DNS servers
                produce at least one DNS reply that identifies the IP network addresses associated with one or more
                geographically situated Huawei Calling servers using one or more domain names associated with the
                Huawei server infrastructure. In the Huawei Cloud Meeting Calling System, for example, the DNS
                query includes a time-to-live (TTL) value. The Huawei DNS servers, for example assign, the TTL
                value to the DNS reply messages resolving various information (such as IP network addresses) that
                facilitate communication with the communication networks, the servers, the services, and/or the other
                resources associated with the Huawei server infrastructure. The TTL values assigned to at least one
                DNS reply message, identifying one or more IP network addresses associated with the Huawei
                Calling servers, indicating that the validity of the responses identifying or resolving the IP network
                addresses associated with the Huawei Calling servers expires after a period of time.
            •   In one or more operations associated with producing an access code, the Huawei server infrastructure
                uses the Cloud Meeting server software application to produce (or cause to be produced) one or more
                communications and/or a combination of communications associated with one or more of the
                geographically situated Huawei Calling servers identified by the Huawei DNS servers. For example,
                the geographically situated Huawei Calling servers produce call session information to identify, to the
                caller’s mobile telephone, the Huawei Calling servers as geographically situated with respect to the
                caller’s mobile telephone using the IP network addresses associated with the geographically situated
                Huawei Calling servers. For example, the caller’s mobile telephone and the geographically situated

24
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 78 of 127

                                                                   CHART B
                                             Huawei Calling servers communicate to establish the call session information, which expires after a
                                             period of time. The Huawei Calling servers assign explicitly and/or implicitly session time to the call
                                             session information. The session time assigned to call session information, indicates that validity of a
                                             message or a Cloud Meeting call expires after a period of time, such as after a predetermined time or
                                             at the end of a session.


                                      Individually or in combination with other information, the Huawei server infrastructure using the Cloud
                                      Meeting server software application to produce the information by the Huawei DNS servers to provide access
                                      to the communication networks, the servers, the services, and/or the other resources associated with the
                                      Huawei server infrastructure to exchange a message or setup and initiate a Cloud Meeting call and/or the
                                      information by the Huawei Calling servers to provide access to exchange a message or setup and initiate a
                                      Cloud Meeting call, wherein the information identifying the Huawei Calling servers and/or the call session
                                      time associated with a call session expires after a period of time, are examples of producing an access code,
                                      wherein said access code expires after a period of time as set forth in this element.


     [30b-5] wherein producing        The Huawei Cloud Meeting Calling System produces an access code, wherein producing said access code
     said access code comprises       comprises selecting said access code from a pool of access codes. In the Huawei Cloud Meeting Calling
     selecting said access code       System, for example, the Huawei server infrastructure includes and/or performs this element using the Cloud
     from a pool of access codes,     Meeting server software application to provide setup, routing, and delivery of non-real time (e.g., messages)
                                      and real time (e.g., voice and video calls) communication to and from supported devices using the Cloud
                                      Meeting client software applications.


                                      In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud
                                      Meeting server software application to produce (or cause to be produced) one or more parts, portions, and/or

25
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 79 of 127

                                       CHART B
         combinations of information associated with the access code reply message, such as an access code as set
         forth in element [30b-1], using one or more access servers associated with the Huawei server infrastructure:
            •   In one or more operations associated with producing an access code, the Huawei server infrastructure
                uses the Cloud Meeting server software application to produce (or cause to be produced) one or more
                communications and/or a combination of communications associated with one or more of the Huawei
                DNS servers. In the Huawei Cloud Meeting Calling System, for example, the caller’s mobile
                telephone uses the Cloud Meeting client software application to communicate at least one DNS query
                asking the Huawei DNS servers for the IP network addresses associated with the Huawei Calling
                servers geographically situated relative to the caller’s mobile telephone based on the location of the
                caller’s mobile telephone. In the Huawei Cloud Meeting Calling System, for example, one or more
                domain names and one or more blocks of IP network addresses owned by Huawei and used by the
                Cloud Meeting client software application used to obtain the IP network addresses associated with the
                geographically situated Huawei Calling servers are set forth in Appendix A. In the Huawei Cloud
                Meeting Calling System, for example, the caller’s mobile telephone uses the Cloud Meeting client
                software application to seek one or more IP network addresses associated with the geographically
                situated Huawei Calling servers from the blocks of IP network addressed owned by Huawei. Each IP
                network address associated with the blocks of IP network addressed owned by Huawei identifies a
                respective telephone number or Internet Protocol (IP) network address that enables a call to be made
                to call the callee identified by the callee identifier.
            •   In one or more operations associated with producing an access code, the Huawei server infrastructure
                uses the Cloud Meeting server software application to produce (or cause to be produced) one or more
                communications and/or a combination of communications associated with one or more of the
                geographically situated Huawei Calling servers identified by the Huawei DNS servers. In the Huawei
                Cloud Meeting Calling System, for example, the caller’s mobile telephone and the geographically

26
                               Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 80 of 127

                                                                  CHART B
                                            situated Huawei Calling servers communicate to establish the call session information. In the Huawei
                                            Cloud Meeting Calling System, for example, the caller’s mobile telephone uses the Cloud Meeting
                                            client software application to seek one or more IP network addresses associated with the
                                            geographically situated Huawei Calling servers from the blocks of IP network addressed owned by
                                            Huawei to establish the call session information.


                                     Individually or in combination with other information, the Huawei server infrastructure using the Cloud
                                     Meeting server software application to produce the information by the Huawei DNS servers to provide the
                                     mobile telephone with access to the communication networks, the servers, the services, and/or the other
                                     resources associated with the Huawei server infrastructure to exchange a message or setup and initiate a
                                     Cloud Meeting call and/or to produce the information by the Huawei Calling servers to provide the mobile
                                     telephone with access to exchange a message or setup and initiate a Cloud Meeting call, wherein the
                                     information produced to provide access to the Huawei Cloud Meeting Calling System is selected from a pool,
                                     are examples of producing an access code, wherein producing said access code comprises selecting said
                                     access code from a pool of access codes as set forth in this element.


     [30b-6] wherein each access     The Huawei Cloud Meeting Calling System produces an access code, wherein each access code in said pool
     code in said pool of access     of access codes identifies a respective telephone number or Internet Protocol (IP) network address. In the
     codes identifies a respective   Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure includes and/or
     telephone number or Internet performs this element using the Cloud Meeting server software application to provide setup, routing, and
     Protocol (IP) network           delivery of non-real time (e.g., messages) and real time (e.g., voice and video calls) communication to and
     address; and                    from supported devices using the Cloud Meeting client software applications.




27
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 81 of 127

                                       CHART B
         In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud
         Meeting server software application to produce (or cause to be produced) one or more parts, portions, and/or
         combinations of information associated with the access code reply message, such as an access code as set
         forth in element [30b-1], using one or more access servers associated with the Huawei server infrastructure:
            •   In one or more operations associated with producing an access code, the Huawei server infrastructure
                uses the Cloud Meeting server software application to produce (or cause to be produced) one or more
                communications and/or a combination of communications associated with one or more of the Huawei
                DNS servers. In the Huawei Cloud Meeting Calling System, for example, the caller’s mobile
                telephone uses the Cloud Meeting client software application to communicate at least one DNS query
                asking the Huawei DNS servers for the IP network addresses associated with the Huawei Calling
                servers geographically situated relative to the caller’s mobile telephone based on the location of the
                caller’s mobile telephone. In the Huawei Cloud Meeting Calling System, for example, one or more
                domain names and one or more blocks of IP network addresses owned by Huawei and used by the
                Cloud Meeting client software application used to obtain the IP network addresses associated with the
                geographically situated Huawei Calling servers are set forth in Appendix A. In the Huawei Cloud
                Meeting Calling System, for example, the caller’s mobile telephone uses the Cloud Meeting client
                software application to seek one or more IP network addresses associated with the geographically
                situated Huawei Calling servers from the blocks of IP network addressed owned by Huawei. Each IP
                network address associated with the blocks of IP network addressed owned by Huawei identifies a
                respective telephone number or Internet Protocol (IP) network address that enables a call to be made
                to call the callee identified by the callee identifier.
            •   In one or more operations associated with producing an access code, the Huawei server infrastructure
                uses the Cloud Meeting server software application to produce (or cause to be produced) one or more
                communications and/or a combination of communications associated with one or more of the

28
                                Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 82 of 127

                                                                 CHART B
                                           geographically situated Huawei Calling servers identified by the Huawei DNS servers. In the Huawei
                                           Cloud Meeting Calling System, for example, the caller’s mobile telephone and the geographically
                                           situated Huawei Calling servers communicate to establish the call session information. For example,
                                           the caller’s mobile telephone uses the Cloud Meeting client software application to seek one or more
                                           IP network addresses associated with the geographically situated Huawei Calling servers from the
                                           blocks of IP network addressed owned by Huawei to establish the call session information.


                                    Individually or in combination with other information, the Huawei server infrastructure using the Cloud
                                    Meeting server software application to produce the information by the Huawei DNS servers to provide access
                                    to the communication networks, the servers, the services, and/or the other resources associated with the
                                    Huawei server infrastructure to exchange a message or setup and initiate a Cloud Meeting call and/or the
                                    information by the Huawei Calling servers to provide access to exchange a message or setup and initiate a
                                    Cloud Meeting call, wherein the information for providing the mobile telephone with access to the Huawei
                                    Cloud Meeting Calling system represents or identifies a telephone number and/or IP address, are examples of
                                    producing an access code, wherein each access code in said pool of access codes identifies a respective
                                    telephone number or Internet Protocol (IP) network address as set forth in this element.


     [30c] transmitting an access   The Huawei Cloud Meeting Calling System transmits an access code reply message including said access
     code reply message             code, to the mobile telephone. In the Huawei Cloud Meeting Calling System, for example, the Huawei server
     including said access code,    infrastructure includes and/or performs this element using the Cloud Meeting server software application to
     to the mobile telephone.       provide setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video
                                    calls) communication to and from supported devices using the Cloud Meeting client software applications.




29
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 83 of 127

                                     CHART B
         In the Huawei Cloud Meeting Calling System, for example, the Huawei server infrastructure uses the Cloud
         Meeting server software application to obtain (or cause to be obtained) the access code request message
         associated with the caller’s mobile telephone as set forth in elements [30a et seq]. The Huawei server
         infrastructure uses the Cloud Meeting server software application to produce (or cause to be produced) the
         access code as set forth in elements [30b et seq]. For example, the Huawei server infrastructure uses the
         Cloud Meeting server software application to communicate (or cause to be communicated) to the caller’s
         mobile telephone one or more parts, portions, and/or combinations of information associated with an access
         code reply message, using one or more means of direct and/or indirect communications and/or a combination
         of communications to the caller’s mobile telephone to implement one or more access servers of the Huawei
         server infrastructure:
            •   In one or more communications and/or a combination of communications associated with transmitting
                an access code reply message, the Huawei server infrastructure uses the Cloud Meeting server
                software application to communicate (or cause to be communicated) the communications and/or the
                combination of communications associated with one or more of the Huawei DNS servers. In the
                Huawei Cloud Meeting Calling System, for example, the Huawei DNS servers provide access to the
                communication networks, the servers, the services, and/or the other resources associated with the
                Huawei server infrastructure, and/or the Huawei server infrastructure provides access to exchange a
                message or setup and initiate a Cloud Meeting call. In the Huawei Cloud Meeting Calling System, for
                example, the information produced by the Huawei DNS servers to provide access to the
                communication networks, the servers, the services, and/or the other resources associated with the
                Huawei server infrastructure includes and/or is communicated using one or more packets produced
                (or caused to be produced) by the Huawei DNS servers, including, for example, one or more DNS
                replies that respond to the DNS queries associated with the caller’s mobile telephone by providing the
                mobile telephone with one or more IP network addresses associated with Huawei Calling servers

30
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 84 of 127

                                     CHART B
                geographically situated relative to the caller’s mobile telephone based on the location of the caller’s
                mobile telephone. In the Huawei Cloud Meeting Calling System, for example, the Huawei DNS
                servers communicate at least one DNS reply that identifies the IP network addresses associated with
                one or more geographically situated Huawei Calling servers using one or more domain names
                associated with the Huawei server infrastructure. For example, the Huawei DNS servers communicate
                at least one DNS reply identifying, to the caller’s mobile telephone, one or more Huawei Calling
                servers that are geographically situated with respect to the caller’s mobile telephone (e.g., via
                identifying the IP network addresses associated with the geographically situated Huawei Calling
                servers), based on the geographic location associated with the caller’s mobile telephone. Additionally,
                the Huawei DNS servers, for example, identify the geographically situated Huawei Calling servers to
                the caller’s mobile telephone as having one or more communications channels through which
                communications between the caller’s mobile telephone and the callee’s mobile telephone can be
                conducted (e.g., via identifying the IP network addresses associated with the geographically situated
                Huawei Calling servers).
            •   In one or more communications and/or a combination of communications associated with transmitting
                an access code reply message, the Huawei server infrastructure uses the Cloud Meeting server
                software application to communicate (or cause to be communicated) communication(s) associated
                with one or more of the Huawei Calling servers. For example, the Huawei Calling servers provides
                access to exchange messages (including chats, group chats, images, videos, voice messages and files)
                and make Cloud Meeting calls (voice and video), and the Huawei Calling servers communicate call
                session information associated with the communications and/or the combination of communications
                to provide access to exchange messages and make Cloud Meeting calls. For example, the call session
                information produced by the Huawei Calling servers to provide access to exchange messages and
                make Cloud Meeting calls includes and/or is communicated using one or more packets produced (or

31
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 85 of 127

                                     CHART B
                caused to be produced) by the Huawei Calling servers. The packets may include call session
                information associated with the Huawei Calling servers in response to a request for call session
                information associated with the caller’s mobile telephone. The call session information associated
                with the Huawei Calling servers includes the IP network addresses associated with the geographically
                situated Huawei Calling servers. The geographically situated Huawei Calling servers may
                communicate the call session information to identify, to the caller’s mobile telephone, the Huawei
                Calling servers as geographically situated with respect to the caller’s mobile telephone using the IP
                network addresses associated with the geographically situated Huawei Calling servers. In the Huawei
                Cloud Meeting Calling System, for example, the geographically situated Huawei Calling servers
                communicate the call session information based on the geographic location associated with the
                caller’s mobile telephone, and, additionally, communicate the call session information to identify, to
                the caller’s mobile telephone, one or more communications channels through which communications
                between the caller’s mobile telephone and the callee’s mobile telephone can be conducted.


         Individually or in combination with other information, the Huawei server infrastructure using the Cloud
         Meeting server software application to communicate the information produced by the Huawei DNS servers to
         provide access to the communication networks, the servers, the services, and/or the other resources associated
         with the Huawei server infrastructure to exchange a message or setup and initiate a Cloud Meeting call and/or
         to communicate the call session information produced by the Huawei Calling servers to provide access to
         exchange a message or setup and initiate a Cloud Meeting call, are examples of transmitting an access code
         reply message including said access code, to the mobile telephone as set forth in this element.


         The Huawei Cloud Meeting Calling System enables mobile telephone roaming as described in the ‘234
         Patent and defined in claim 30, literally and/or under the doctrine of equivalents. The Huawei Cloud Meeting

32
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 86 of 127

                                      CHART B
         Calling System uses access code request/response messages to produce an access code useable by the mobile
         telephone to initiate a call to a callee. In the Huawei Cloud Meeting Calling System, the access code is based
         on a location identifier and/or based on a location pre-associated with the mobile telephone. The access code,
         alone or in combination with other information for example, identifies an IP address associated with one or
         more Huawei Calling servers having a communication channel through which the caller’s mobile telephone
         may initiate a Cloud Meeting call. In the Huawei Cloud Meeting Calling System, an access code comprises
         information or a combination of information, such as one or IP addresses associated with one or more
         Huawei Calling servers (having communication channels for Cloud Meeting calls between mobile
         telephones) and/or call session information provided by the Huawei Calling servers that enables a call to be
         made to a callee. The communications channels also can connect the caller’s mobile telephone with other
         devices using telephone lines in a Public Switched Telephone Network (PSTN). The Huawei Calling servers
         can direct calls that are received on the communications channels to a gateway leading to the PSTN. The
         Huawei Calling servers use the communications channels to cooperate with an IP network and the gateway to
         the PSTN to cause a call involving the caller’s mobile telephone to be routed through the IP network and
         continue to the PSTN. The communication channels provided by the Huawei Calling servers may provide the
         benefit of callers placing calls to the PSTN at either no additional charge or at a lower additional charge than
         would be otherwise required. Furthermore, where calls may be placed by callers to the IP network, the calls
         may be placed in a manner that minimizes transmission times over the IP network.




33
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 87 of 127

                                                                    CHART B
                                                                    APPENDIX A

In the Huawei Cloud Meeting Calling System, for example, the caller’s mobile telephone uses the Huawei client software application to
communicate at least one DNS query to seek one or more IP network addresses associated with one or more geographically situated Huawei Calling
servers identified using the following exemplary domain name(s):

     •   meeting.huaweicloud.com
In the Huawei Cloud Meeting Calling System, for example, the Huawei DNS servers communicate, to the caller’s mobile telephone, one or more
DNS replies in response to the DNS queries. In the Huawei Cloud Meeting Calling System, for example, the Huawei DNS servers communicate one
or more IP network addresses in at least the following exemplary block(s) of IP network addresses assigned to the Huawei server infrastructure and
owned or operated by Huawei:

     •   94.74.64.0/25
In the Huawei Cloud Meeting Calling System, for example, the Huawei DNS servers communicate, to the caller’s mobile telephone, the IP network
addresses associated with the geographically located Huawei Calling servers based on a location identifier and/or based on a location pre-associated
with a mobile telephone.

In a set of tests associated with the scenario set forth in Chart B using DNS, an initiating device associated with an IP network address allocated by
an Internet service provider within the following geographic regions communicated one or more DNS requests to the Huawei DNS servers using the
above domain names. Appendix A sets forth that DNS replies in response to DNS requests made to the Huawei DNS servers by the initiating device
(e.g., by contacting the Google public DNS server at an IP address of 8.8.8.8) result in the initiating device obtaining, from the Huawei DNS servers,
the IP network addresses associated with the geographically located Huawei Calling servers based on a location associated with the IP network
address allocated to the initiating device. In the Huawei Cloud Meeting Calling System, for example, the initiating device also obtains the same IP
network addresses associated with the geographically located Huawei Calling servers based on a location associated with the IP network address
allocated to the initiating device by the initiating device directly contacting the Huawei DNS servers.




34
                                 Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 88 of 127

                                                                    CHART B
Appendix A sets forth that, in the Huawei Cloud Meeting Calling System, the IP network addresses associated with the Huawei Calling servers
across geographic locations in the following table are being selected based on a location associated with the IP network address allocated to the
initiating device. The following table provides an example of the IP network addresses returned by the Huawei DNS servers (together with a count, if
available, indicating the number of times each unique IP address was resolved by the Huawei DNS servers).

 California                                                                 Florida
 meeting.huaweicloud.com                                                    meeting.huaweicloud.com
 94.74.69.128                                                               94.74.69.229




35
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 89 of 127

                                                                      CHART C
       Huawei Technologies America, Inc. (“Huawei”) infringes the Patents-in-Suit by the “Huawei CloudLink Calling System.” The Huawei
CloudLink Calling System includes desktop computers, laptops, tablets, smartphones, and other mobile devices as well as enterprise to small office-
home office level telephony hardware, software, and cloud-based services manufactured and supported by Huawei and used by Huawei enterprise
customers. The Huawei CloudLink Calling System actively encourages and enables users of desktop computers, laptops, tablets, smartphones, and
other mobile devices and the Huawei enterprise customers to participate in mobile telephone roaming as described in U.S. Patent No. 8,630,234
(hereinafter the ‘234 Patent) and set forth in the asserted claims.

       The Huawei CloudLink Calling System includes Huawei CloudLink Video Conferencing Platform, or simply CloudLink, which is a cross-
platform centralized messaging and communication (e.g., voice-over-IP) service owned by Huawei. The Huawei CloudLink Calling System allows
smartphone and desktop users to send text messages and voice messages, make voice and video calls, and share images, documents, user locations,
and other content. See https://e.huawei.com/en/solutions/enterprise-collaboration/videoconferencing-platform.

       In the Huawei CloudLink Calling System, users of the desktop computers, laptops, tablets, smartphones, and mobile devices can send
messages including text, images, video and audio to others using CloudLink client software applications developed by Huawei for supported devices
to communicate with a Huawei CloudLink-enabled server infrastructure owned and operated by a Huawei enterprise customer. The CloudLink client
software applications running on most supported devices includes Huawei Calling, which is a voice and video calling feature incorporating
techniques described in the ‘234 Patent. Additionally, in the Huawei CloudLink Calling System, the Huawei CloudLink-enabled server infrastructure
includes one or more communication networks, one or more servers, one or more services, and/or one or more other resources associated with the
Huawei CloudLink-enabled server infrastructure and using CloudLink server software applications developed by Huawei to implement setup,
routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video calls) communication to and from the supported devices
using the CloudLink client software applications. The CloudLink server software applications running on servers owned and/or operated by the
Huawei enterprise customer include the Huawei Calling feature incorporating techniques described in the ‘234 Patent.

       Chart C applies independent claim 30 of the ‘234 Patent to the Huawei CloudLink Calling System.

       Chart C demonstrates that in the Huawei CloudLink Calling System, the Huawei CloudLink-enabled server infrastructure owned and
operated by the Huawei enterprise customer produces an access code based on a location identifier and/or based on a location pre-associated with a
1
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 90 of 127

                                                                     CHART C
mobile telephone and which is used by the mobile telephone to initiate a call as described in the ‘234 Patent and defined in the asserted claims,
literally and/or under the doctrine of equivalents. In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server
infrastructure produces an access code comprising one or more portions and/or a combination of information. In the Huawei CloudLink Calling
System, for example, the Huawei CloudLink-enabled server infrastructure produces an access code comprising information identifying one or more
Internet Protocol (IP) network addresses associated with one or more Huawei Calling servers in the Huawei CloudLink-enabled server infrastructure
and/or call session information obtained via one or more Huawei Calling servers in the Huawei CloudLink-enabled server infrastructure. The call
session information, for example, identifies a communications channel usable by the mobile telephone to cause a routing controller (e.g., one or more
Huawei Calling servers in the Huawei CloudLink-enabled server infrastructure) to establish a call to a callee using the channel. Thus, the Huawei
server infrastructure enables mobile telephone roaming using the access code as described in the ‘234 Patent and defined in the asserted claims,
literally and/or under the doctrine of equivalents.

       Chart C uses one scenario of infringement as an example to demonstrate how elements of the asserted claims read on the use of a domain
name system (DNS) associated with the Huawei CloudLink-enabled server infrastructure to produce one or more portions and/or combinations of
information representing an access code that is based on a location identifier and/or based on a location pre-associated with the mobile telephone and
that identifies one or more Internet Protocol (IP) network addresses associated with one or more Huawei Calling server in the Huawei CloudLink-
enabled server infrastructure and/or call session information obtained via the one or more Huawei Calling servers to enable mobile telephone
roaming as described in the ‘234 Patent and defined in the asserted claims, literally and/or under the doctrine of equivalents. The scenario set forth in
Chart C using DNS is one example made without limitation to one or more additional scenarios of infringement, which may be described in other
charts using at least some of the components and/or processes associated with the Huawei CloudLink Calling System already identified in Chart C,
further demonstrating how the asserted claims read, literally and/or under the doctrine of equivalents, on the Huawei CloudLink Calling System.




2
                               Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 91 of 127

                                                                CHART C
                                                          U.S. Patent No. 8,630,234
30.   [30p] A method for enabling   The Huawei CloudLink Calling System includes a method for enabling mobile telephone roaming.
      mobile telephone roaming,
      the method comprising:        In the Huawei CloudLink Calling System, for example, roaming with a mobile telephone (e.g., a caller’s
                                    mobile telephone) as described in the ‘234 Patent and defined in the method of claim 30 is performed,
                                    literally and/or under the doctrine of equivalents, by the caller’s mobile telephone communicating with the
                                    Huawei CloudLink-enabled server infrastructure owned and/or operated by the Huawei enterprise customer,
                                    which includes:
                                       •   One or more Huawei domain name system (DNS) servers associated with the Huawei CloudLink-
                                           enabled server infrastructure that provide a naming system for one or more communication networks,
                                           one or more servers, one or more services, and/or other resources associated with the Huawei
                                           CloudLink-enabled server infrastructure and using CloudLink server software applications developed
                                           by Huawei to implement initialization, routing, and delivery of non-real time (e.g., messages) and real
                                           time (e.g., voice and video calls) communication to and from supported devices using the CloudLink
                                           client software applications. The Huawei DNS servers associate domain names used by the
                                           CloudLink client software application with various information (such as IP network addresses) that
                                           provide access to the communication networks, servers, services, and/or other resources associated
                                           with the Huawei CloudLink-enabled server infrastructure.
                                       •   One or more Huawei CloudLink-enabled Calling servers associated with the Huawei CloudLink-
                                           enabled server infrastructure that provide setup, routing, and delivery of non-real time (e.g.,
                                           messages) and real time (e.g., voice and video calls) communication to and from supported devices
                                           using the CloudLink client software applications. The Huawei CloudLink-enabled Calling servers
                                           include the CloudLink server software applications developed by Huawei and provide access to



3
    Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 92 of 127

                                  CHART C
              exchange messages (including chats, group chats, images, videos, voice messages and files) and make
              CloudLink calls (voice and video) around the world.




4
    Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 93 of 127

                                   CHART C




        https://e.huawei.com/en/solutions/enterprise-collaboration/videoconferencing-platform



5
                             Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 94 of 127

                                                              CHART C
                                 In the Huawei CloudLink Calling System, for example, roaming with a mobile telephone (e.g., a caller’s
                                 mobile telephone) is performed when the Huawei CloudLink-enabled server infrastructure owned and
                                 operated by the Huawei enterprise customer produces an access code based on a location identifier and/or
                                 based on a location pre-associated with the mobile telephone and which is used by the mobile telephone to
                                 initiate a call as described in the ‘234 Patent and defined in claim 30, literally and/or under the doctrine of
                                 equivalents. In the Huawei CloudLink Calling System, the caller’s mobile telephone starts a CloudLink call
                                 using the CloudLink client software application. The caller’s mobile telephone uses the CloudLink client
                                 software application to establish communication with and through the Huawei CloudLink-enabled server
                                 infrastructure to initiate the CloudLink call to one or more devices and/or destinations (e.g., a callee’s mobile
                                 telephone).


    [30a-1] receiving from the   The Huawei CloudLink Calling System receives from the mobile telephone an access code request message.
    mobile telephone an access   In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
    code request message         includes and/or performs this element using the CloudLink server software application to provide setup,
                                 routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video calls)
                                 communication to and from supported devices using the CloudLink client software applications.


                                 In the Huawei CloudLink Calling System, for example, the caller’s mobile telephone uses the CloudLink
                                 client software application to communicate (or cause to be communicated) one or more parts, portions, and/or
                                 combinations of information associated with an access code request message. In the Huawei CloudLink
                                 Calling System, for example, the Huawei CloudLink-enabled server infrastructure uses the CloudLink server
                                 software application to obtain (or cause to be obtained) the parts, portions, and/or combinations of
                                 information associated with the access code request message and associated with the callee’s mobile



6
    Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 95 of 127

                                     CHART C
        telephone and to use this information at one or more access servers associated with the Huawei CloudLink-
        enabled server infrastructure:
           •   In one or more communications and/or a combination of communications associated with receiving
               from the mobile telephone an access code request message, the Huawei CloudLink-enabled server
               infrastructure uses the CloudLink server software application to receive and process (or cause to be
               received), at one or more of the Huawei DNS servers, the communications and/or combination of
               communications associated with the callee’s mobile telephone. For example, the Huawei DNS servers
               may obtain (or cause to be obtained) communication(s) requesting the Huawei DNS servers to
               provide access to the communication networks, the servers, the services, and/or the other resources
               associated with the Huawei CloudLink-enabled server infrastructure, such as to exchange a message
               or setup and initiate a CloudLink call. The information requesting the Huawei DNS servers to provide
               access may be communicated using one or more packets produced (or caused to be produced) by the
               caller’s mobile telephone, and may comprise one or more DNS queries that query the Huawei DNS
               servers for one or more IP network addresses associated with one or more of the Huawei CloudLink-
               enabled Calling servers. In the Huawei CloudLink Calling System, for example, the Huawei
               CloudLink-enabled server infrastructure obtains at least one DNS query asking the Huawei DNS
               servers for the IP network addresses associated with the Huawei CloudLink-enabled Calling servers
               geographically situated relative to the caller’s mobile telephone based on a location associated with
               the caller’s mobile telephone. For example, the Huawei CloudLink-enabled server infrastructure
               obtains at least one DNS query using one or more domain names associated with the Huawei
               CloudLink-enabled server infrastructure to obtain the IP network address(es) associated with the
               geographically situated Huawei CloudLink-enabled Calling servers at one or more domain names and
               one or more blocks of IP network addresses owned by Huawei and used by the CloudLink client
               software application. Examples of obtaining the IP network addresses associated with the

7
    Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 96 of 127

                                     CHART C
               geographically situated Huawei CloudLink-enabled Calling servers, are set forth in Appendix A.
               Additionally, Appendix A sets forth that one or more communications to the Huawei DNS servers
               using the domain names owned by Huawei, for example, based on the location associated with the
               communications, results in obtaining one or more IP network addresses associated with the blocks of
               IP network addresses owned by Huawei and geographically situated Huawei CloudLink-enabled
               Calling servers associated with the Huawei CloudLink-enabled server infrastructure.
           •   In the Huawei Cloud Meeting Calling System, for example, the Huawei Calling servers provide
               access to the Cloud Meeting server software applications developed by Huawei to exchange messages
               (including chats, group chats, images, videos, voice messages and files) and make CloudLink calls
               (voice and video). For example, the Huawei CloudLink-enabled Calling servers obtain the
               communications and/or combination of communications associated with the callee’s mobile telephone
               as information requesting the Huawei CloudLink-enabled Calling servers to provide access to
               exchange a message or setup and initiate a CloudLink call. In the Huawei CloudLink Calling System,
               for example, the information requesting the Huawei CloudLink-enabled Calling servers to provide
               access includes and/or is communicated using one or more packets produced (or caused to be
               produced) by the caller’s mobile telephone, the packet(s) comprising information asking one or more
               geographically situated Huawei CloudLink-enabled Calling servers for call session information. For
               example, the caller’s mobile telephone and the geographically situated Huawei CloudLink-enabled
               Calling servers can communicate to establish the call session information to select and connect to a
               calling gateway, establish signaling, establish a media port and provide connectivity negotiation with
               calling gateway and/or peer-to-peer using protocols such as ICE/STUN/TURN, and initiate via the
               calling gateway a CloudLink call, a Huawei group/conference call, and/or a PSTN call with the callee
               identified by the callee identifier. See, e.g., https://e.huawei.com/en/solutions/enterprise-
               collaboration/videoconferencing-platform.

8
                                 Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 97 of 127

                                                                  CHART C

                                     Individually or in combination with other information, the Huawei CloudLink-enabled server infrastructure
                                     using the CloudLink server software application to receive and process the information requesting the
                                     Huawei DNS servers to provide access to the communication networks, the servers, the services, and/or the
                                     other resources associated with the Huawei CloudLink-enabled server infrastructure to exchange a message
                                     or setup and initiate a CloudLink call and/or to receive and process the information requesting the Huawei
                                     CloudLink-enabled Calling servers to provide access to exchange a message or setup and initiate a
                                     CloudLink call, are examples of receiving from the mobile telephone an access code request message as set
                                     forth in this element.


    [30a-2] including a callee       The Huawei CloudLink Calling System receives from the mobile telephone an access code request message,
    identifier associated with the   where the access code request message includes a callee identifier associated with the callee. In the Huawei
    callee and                       CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure includes and/or
                                     performs this element using the CloudLink server software application to provide setup, routing, and delivery
                                     of non-real time (e.g., messages) and real time (e.g., voice and video calls) communication to and from
                                     supported devices using the CloudLink client software applications.


                                     In the Huawei CloudLink Calling System, for example, the caller’s mobile telephone uses the CloudLink
                                     client software application to communicate (or cause to be communicated) an access code request message
                                     comprising one or more parts, portions, and/or combinations of information. In the Huawei CloudLink
                                     Calling System, for example, composing a message or initiating a CloudLink call using the CloudLink client
                                     software application begins with a user entering of a callee’s mobile telephone identifier associated with a
                                     callee’s mobile telephone with which the user wishes to communicate. In the Huawei CloudLink Calling
                                     System, for example, the user input, which may comprise a partial or complete name, email address,

9
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 98 of 127

                                      CHART C
         telephone number, or device identifier, is input directly and/or indirectly into a contact list search box, on a
         touch screen displaying contacts to obtain the callee’s mobile telephone identifier, and/or via voice
         command. In the Huawei CloudLink Calling System, for example, the user input associated with the caller’s
         mobile telephone comprises one or more user names, email addresses, device identifiers, and/or telephone
         numbers associated with the callee’s mobile telephone with which the user wishes to communicate. In the
         Huawei Cloud Meeting Calling System, for example, the caller’s mobile telephone uses the Cloud Meeting
         client software application to obtain the user name(s), email address(es), device identifier(s), and/or
         telephone number(s) associated with the callee’s mobile telephone with which the user wishes to
         communicate from the user input associated with the caller’s mobile telephone.


         In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
         uses the CloudLink server software application to receive (or cause to be received) the parts, portions, and/or
         combinations of information associated with the access code request message as set forth in element [30a-1].
         In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
         uses the CloudLink server software application to obtain (or cause to be obtained) the parts, portions, and/or
         combinations of information associated with the access code request message using the communications
         and/or combination of communications associated with the callee’s mobile telephone with one or more
         access servers and/or a combination of access servers associated with the Huawei CloudLink-enabled server
         infrastructure:
            •   In one or more communications and/or a combination of communications associated with receiving
                from the mobile telephone an access code request message, the Huawei CloudLink-enabled server
                infrastructure uses the CloudLink server software application to obtain (or cause to be obtained) the
                communications and/or combination of communications associated with the callee’s mobile telephone
                interacting with one or more of the Huawei DNS servers. In the Huawei CloudLink Calling System,

10
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 99 of 127

                                      CHART C
                for example, the Huawei CloudLink-enabled server infrastructure obtains at least one DNS query
                using one or more domain names associated with the Huawei CloudLink-enabled server infrastructure
                to obtain the IP network addresses associated with the geographically situated Huawei CloudLink-
                enabled Calling servers. In the Huawei CloudLink Calling System, for example, the DNS query
                includes the callee identifier associated with the callee and used by the Huawei DNS servers to obtain
                the IP network addresses associated with the geographically situated Huawei CloudLink-enabled
                Calling servers.
            •   In one or more communications and/or a combination of communications associated with receiving
                from the wireless device an access code request message, the Huawei CloudLink-enabled server
                infrastructure uses the CloudLink server software application to obtain (or cause to be obtained) the
                communications and/or combination of communications associated with the callee’s mobile telephone
                interacting with one or more of the Huawei CloudLink-enabled Calling servers. In the Huawei
                CloudLink Calling System, for example, the packets communicated from (or caused to be
                communicate by) the callee’s mobile telephone with the Huawei CloudLink-enabled Calling servers
                comprise information asking one or more geographically situated Huawei CloudLink-enabled Calling
                servers for call session information. In the Huawei CloudLink Calling System, for example,
                information asking one or more geographically situated Huawei CloudLink-enabled Calling servers
                for call session information includes the callee identifier associated with the callee. In the Huawei
                CloudLink Calling System, for example, the caller’s mobile telephone and the geographically situated
                Huawei CloudLink-enabled Calling servers communicate to establish the call session information
                using the callee identifier associated with the callee.


         Individually or in combination with other information, the Huawei CloudLink-enabled server infrastructure
         using the CloudLink server software application to obtain the information requesting the Huawei DNS

11
                               Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 100 of 127

                                                                  CHART C
                                     servers to provide access to the communication networks, the servers, the services, and/or the other resources
                                     associated with the Huawei CloudLink-enabled server infrastructure to exchange a message or setup and
                                     initiate a CloudLink call and/or the information requesting the Huawei CloudLink-enabled Calling servers to
                                     provide access to exchange a message or setup and initiate a CloudLink call, wherein the request(s) for
                                     access identify a user name, email address, telephone number, and/or a device identifier associated with the
                                     called party, are examples of receiving from the mobile telephone an access code request message, where the
                                     access code request message includes including a callee identifier associated with the callee as set forth in
                                     this element.


     [30a-3] a location identifier   The Huawei CloudLink Calling System receives from the mobile telephone an access code request message,
     separate and distinctive from   where the access code request message includes a location identifier separate and distinctive from said callee
     said callee identifier,         identifier. In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server
                                     infrastructure includes and/or performs this element using the CloudLink server software application to
                                     provide setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video
                                     calls) communication to and from supported devices using the CloudLink client software applications.


                                     In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
                                     uses the CloudLink server software application to receive (or cause to be received) the parts, portions, and/or
                                     combinations of information associated with the access code request message as set forth in element [30a-1].
                                     In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
                                     uses the CloudLink server software application to obtain (or cause to be obtained) the parts, portions, and/or
                                     combinations of information associated with the access code request message using the communications
                                     and/or combination of communications associated with the callee’s mobile telephone interacting with one or



12
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 101 of 127

                                      CHART C
         more access servers and/or a combination of access servers associated with the Huawei CloudLink-enabled
         server infrastructure:
            •   In one or more communications and/or a combination of communications associated with receiving
                from the mobile telephone an access code request message, the Huawei CloudLink-enabled server
                infrastructure uses the CloudLink server software application to obtain (or cause to be obtained) the
                communications and/or combination of communications associated with the callee’s mobile telephone
                interacting with one or more of the Huawei DNS servers. For example, the Huawei CloudLink-
                enabled server infrastructure obtains at least one DNS query asking the Huawei DNS servers for the
                IP network addresses associated with the Huawei CloudLink-enabled Calling servers geographically
                situated relative to the caller’s mobile telephone based on the location of the caller’s mobile
                telephone. The Huawei DNS servers use one or more IP network addresses directly and/or indirectly
                associated with the caller’s mobile telephone as a location identifier of the mobile telephone. The IP
                network addresses directly and/or indirectly associated with the caller’s mobile telephone are separate
                and distinctive from the callee identifier as set forth in element [30a-2].
            •   In one or more communications and/or a combination of communications associated with receiving
                from the wireless device an access code request message, the Huawei CloudLink-enabled server
                infrastructure uses the CloudLink server software application to obtain (or cause to be obtained) the
                communications and/or combination of communications associated with the callee’s mobile telephone
                interacting with one or more of the Huawei CloudLink-enabled Calling servers. For example, the
                caller’s mobile telephone and the geographically situated Huawei CloudLink-enabled Calling servers
                communicate to establish the call session information, which may involve using the location identifier
                identifying a location of the mobile telephone. The Huawei CloudLink-enabled Calling servers, for
                example, use one or more IP network addresses directly and/or indirectly associated with the caller’s
                mobile telephone and/or current or pre-associated location information associated with the caller’s

13
                              Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 102 of 127

                                                               CHART C
                                         mobile telephone as a location identifier identifying a geographical location of the mobile telephone.
                                         The IP network addresses directly and/or indirectly associated with the caller’s mobile telephone
                                         and/or the current or pre-associated location information associated with the caller’s mobile telephone
                                         are separate and distinctive from the callee identifier as set forth in element [30a-2].


                                  Individually or in combination with other information, the Huawei CloudLink-enabled server infrastructure
                                  using the CloudLink server software application to obtain the information requesting the Huawei DNS
                                  servers to provide access to the communication networks, the servers, the services, and/or the other resources
                                  associated with the Huawei CloudLink-enabled server infrastructure to exchange a message or setup and
                                  initiate a CloudLink call and/or the information requesting the Huawei CloudLink-enabled Calling servers to
                                  provide access to exchange a message or setup and initiate a CloudLink call, for example, where the Huawei
                                  Cloud Meeting Calling System receives one or more IP network addresses identifying the mobile telephone’s
                                  location and/or receives a current or pre-associated location associated with the caller’s mobile telephone, are
                                  examples of receiving from the mobile telephone an access code request message, where the access code
                                  request message includes a location identifier separate and distinctive from said callee identifier as set forth
                                  in this element.


     [30a-4] identifying a        The Huawei CloudLink Calling System receives from the mobile telephone an access code request message,
     location of the mobile       where the access code request message includes a location identifier identifying a location of the mobile
     telephone;                   telephone. In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server
                                  infrastructure includes and/or performs this element using the CloudLink server software application to
                                  provide setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video
                                  calls) communication to and from supported devices using the CloudLink client software applications.



14
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 103 of 127

                                     CHART C
         In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
         uses the CloudLink server software application to receive (or cause to be received) the parts, portions, and/or
         combinations of information associated with the access code request message as set forth in element [30a-1].
         For example, the Huawei CloudLink-enabled server infrastructure uses the CloudLink server software
         application to obtain (or cause to be obtained) the parts, portions, and/or combinations of information
         associated with the access code request message using the communications and/or combination of
         communications associated with the callee’s mobile telephone with one or more access servers and/or a
         combination of access servers associated with the Huawei CloudLink-enabled server infrastructure:
            •   In one or more communications and/or a combination of communications associated with receiving
                from the mobile telephone an access code request message, the Huawei CloudLink-enabled server
                infrastructure uses the CloudLink server software application to obtain (or cause to be obtained) the
                communications and/or combination of communications associated with the callee’s mobile telephone
                interacting with one or more of the Huawei DNS servers. For example, the Huawei CloudLink-
                enabled server infrastructure obtains at least one DNS query asking the Huawei DNS servers for the
                IP network addresses associated with the Huawei CloudLink-enabled Calling servers geographically
                situated relative to the caller’s mobile telephone based on the location of the caller’s mobile
                telephone. The Huawei DNS servers use one or more IP network addresses directly and/or indirectly
                associated with the caller’s mobile telephone as a location identifier of the mobile telephone. The IP
                network addresses directly and/or indirectly associated with the caller’s mobile telephone identify one
                or more locations associated with the mobile telephone.
            •   In one or more communications and/or a combination of communications associated with receiving
                from the wireless device an access code request message, the Huawei CloudLink-enabled server
                infrastructure uses the CloudLink server software application to obtain (or cause to be obtained) the
                communications and/or combination of communications associated with the callee’s mobile telephone

15
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 104 of 127

                                     CHART C
                interacting with one or more of the Huawei CloudLink-enabled Calling servers. In the Huawei
                CloudLink Calling System, for example, the caller’s mobile telephone and the geographically situated
                Huawei CloudLink-enabled Calling servers communicate to establish the call session information. In
                the Huawei CloudLink Calling System, for example, the caller’s mobile telephone and the
                geographically situated Huawei CloudLink-enabled Calling servers communicate to establish the call
                session information using the location identifier identifying a location of the mobile telephone. The
                Huawei CloudLink-enabled Calling servers, for example, use one or more IP network addresses
                directly and/or indirectly associated with the caller’s mobile telephone and/or a current or pre-
                associated location information associated with the caller’s mobile telephone as a location identifier
                identifying a geographical location of the mobile telephone.


         The IP network addresses directly and/or indirectly associated with the caller’s mobile telephone identify a
         location associated with the caller’s mobile telephone, for example, as one or more absolute and relative
         locations:
            •   an actual geographic location associated with the caller’s mobile telephone, which is identified by an
                IP network address assigned to the caller’s mobile telephone by a service provider, such as a wireless
                carrier or Internet Service Provider (ISP);
            •   an actual geographic location associated with the caller’s mobile telephone, which is identified by an
                IP network address assigned to a router by a service provider, such as a wireless carrier or ISP, and
                through which the caller’s mobile telephone directly or indirectly communicates with the Huawei
                CloudLink-enabled server infrastructure;
            •   an actual geographic location associated with the caller’s mobile telephone, which is identified by an
                IP network address assigned to a proxy server by a service provider independent of the Huawei
                CloudLink-enabled server infrastructure, such as a wireless carrier or ISP, and which is physically

16
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 105 of 127

                                         CHART C
                located at an office/data center owned or leased by the service provider or a customer of the service
                provider and through which the caller’s mobile telephone directly or indirectly communicates with the
                Huawei CloudLink-enabled server infrastructure;
            •   a relative geographic location associated with the caller’s mobile telephone, which is identified using
                a location physically or logically relative to the Huawei CloudLink-enabled server infrastructure by
                an IP network address assigned by a service provider independent of the Huawei CloudLink-enabled
                server infrastructure to the caller’s mobile telephone, a router through which the caller’s mobile
                telephone communicates with the Huawei CloudLink-enabled server infrastructure, or a proxy server
                through which the caller’s mobile telephone communicates with the Huawei CloudLink-enabled
                server infrastructure;
            •   a proximate location associated with the caller’s mobile telephone, which is identified using a location
                physically or logically approximate to the Huawei CloudLink-enabled server infrastructure by an IP
                network address assigned by a service provider independent of the Huawei CloudLink-enabled server
                infrastructure to the caller’s mobile telephone, a router through which the caller’s mobile telephone
                communicates with the Huawei CloudLink-enabled server infrastructure, or a proxy server through
                which the caller’s mobile telephone communicates with the Huawei CloudLink-enabled server
                infrastructure.
         The current or pre-associated location information associated with the caller’s mobile telephone identify a
         location associated with the caller’s mobile telephone, such as one or more absolute and relative locations as:
            •   a physical location, such as a street address, latitude/longitude, and GPS coordinates.
            •   a logical or virtual location, such as a communications network, Internet Service Provider, Wireless
                Service Provider, and Wireless Carrier.




17
                              Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 106 of 127

                                                                 CHART C
                                    Individually or in combination with other information, the Huawei CloudLink-enabled server infrastructure
                                    using the CloudLink server software application to obtain the information requesting the Huawei DNS
                                    servers to provide access to the communication networks, the servers, the services, and/or the other resources
                                    associated with the Huawei CloudLink-enabled server infrastructure to exchange a message or setup and
                                    initiate a CloudLink call and/or the information requesting the Huawei CloudLink-enabled Calling servers to
                                    provide access to exchange a message or setup and initiate a CloudLink call, relying on location information
                                    as discussed above, are examples of receiving from the mobile telephone an access code request message,
                                    where the access code request message includes a location identifier identifying a location of the mobile
                                    telephone as set forth in this element.


     [30b-1] producing an access    The Huawei CloudLink Calling System produces an access code identifying a communication channel based
     code identifying a             on said location identifier and/or based on a location pre-associated with the mobile telephone. In the Huawei
     communication channel          CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure includes and/or
     based on said location         performs this element using the CloudLink server software application to provide setup, routing, and delivery
     identifier and/or based on a   of non-real time (e.g., messages) and real time (e.g., voice and video calls) communication to and from
     location pre-associated with   supported devices using the CloudLink client software applications.
     the mobile telephone,
                                    In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
                                    uses the CloudLink server software application to obtain (or cause to be obtained) an access code request
                                    message as set forth in element [30a et seq]. In response to the access code request message, for example, in
                                    the Huawei CloudLink Calling System, the Huawei CloudLink-enabled server infrastructure produces an
                                    access code reply message using the parts, portions, and/or combinations of information associated with the
                                    access code request message communicated from (or caused to be communicate by) the callee’s mobile
                                    telephone. The Huawei CloudLink-enabled server infrastructure uses the CloudLink server software

18
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 107 of 127

                                     CHART C
         application to produce (or cause to be produced) one or more parts, portions, and/or combinations of
         information associated with the access code reply message, such including an access code using one or more
         access servers and/or a combination of access servers associated with the Huawei CloudLink-enabled server
         infrastructure:
            •   In one or more operations associated with producing an access code, the Huawei CloudLink-enabled
                server infrastructure uses the CloudLink server software application to produce (or cause to be
                produced) one or more communications and/or a combination of communications associated with one
                or more of the Huawei DNS servers, for example, the Huawei DNS servers produce (or cause to be
                produced) information associated with providing access to the communication networks, the servers,
                the services, and/or the other resources associated with the Huawei CloudLink-enabled server
                infrastructure. For example, the Huawei DNS servers produce (or cause to be produced) information
                to provide access to the communication networks, the servers, the services, and/or the other resources
                associated with the Huawei CloudLink-enabled server infrastructure to exchange a message or setup
                and initiate a CloudLink call. The information produced by the Huawei DNS servers to provide
                access includes and/or is communicated using one or more packets produced (or caused to be
                produced) by the Huawei DNS servers. For example, the packets communicated from (or caused to be
                communicate by) the Huawei DNS servers include one or more DNS replies that respond to the DNS
                queries associated with the caller’s mobile telephone by providing the mobile telephone with one or
                more IP network addresses associated with Huawei CloudLink-enabled Calling servers
                geographically situated relative to the caller’s mobile telephone based on the location of the caller’s
                mobile telephone. In the Huawei CloudLink Calling System, for example, the Huawei DNS servers
                produce at least one DNS reply that identifies the IP network addresses associated with one or more
                geographically situated Huawei CloudLink-enabled Calling servers using one or more domain names
                associated with the Huawei CloudLink-enabled server infrastructure. For example, the Huawei DNS

19
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 108 of 127

                                     CHART C
                servers produce at least one DNS reply identifying, to the caller’s mobile telephone, one or more
                Huawei CloudLink-enabled Calling servers that are geographically situated with respect to the
                caller’s mobile telephone (via identifying the IP network addresses associated with the geographically
                situated Huawei Calling servers), based on the geographic location associated with the caller’s mobile
                telephone. Additionally, the Huawei DNS servers, for example, identify the geographically situated
                Huawei CloudLink-enabled Calling servers to the caller’s mobile telephone as having one or more
                communications channels through which communications between the caller’s mobile telephone and
                the callee’s mobile telephone can be conducted (via identifying the IP network addresses associated
                with the geographically situated Huawei CloudLink-enabled Calling servers).
            •   In one or more operations associated with producing an access code, the Huawei CloudLink-enabled
                server infrastructure uses the CloudLink server software application to produce (or cause to be
                produced) one or more communications and/or a combination of communications associated with one
                or more of the geographically situated Huawei CloudLink-enabled Calling servers identified by the
                Huawei DNS servers. In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-
                enabled Calling servers provide access to exchange messages (including chats, group chats, images,
                videos, voice messages and files) and access to making Cloud Meeting calls (voice and video). For
                example, the Huawei CloudLink-enabled Calling servers produce (or caused to be produced) call
                session information associated with the communications and/or the combination of communications
                to provide access to exchange messages and make CloudLink calls. The call session information
                produced by the Huawei CloudLink-enabled Calling servers to provide access to exchange messages
                and make CloudLink calls may include and/or is communicated using one or more packets produced
                (or caused to be produced) by the Huawei CloudLink-enabled Calling servers, wherein the packet(s)
                include call session information associated with the Huawei CloudLink-enabled Calling servers in
                response to a request for call session information associated with the caller’s mobile telephone. In the

20
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 109 of 127

                                      CHART C
                Huawei CloudLink Calling System, for example, the call session information associated with the
                Huawei CloudLink-enabled Calling servers includes the IP network addresses associated with the
                geographically situated Huawei CloudLink-enabled Calling servers. The geographically situated
                Huawei CloudLink-enabled Calling servers produce the call session information to identify, to the
                caller’s mobile telephone, the Huawei CloudLink-enabled Calling servers as geographically situated
                with respect to the caller’s mobile telephone using the IP network addresses associated with the
                geographically situated Huawei CloudLink-enabled Calling servers. In the Huawei CloudLink Calling
                System, for example, the geographically situated Huawei CloudLink-enabled Calling servers produce
                the call session information based on the geographic location associated with the caller’s mobile
                telephone. The geographically situated Huawei CloudLink-enabled Calling servers, additionally,
                produce the call session information to identify, to the caller’s mobile telephone, one or more
                communications channels through which communications between the caller’s mobile telephone and
                the callee’s mobile telephone can be conducted.


         Individually or in combination with other information, the Huawei CloudLink-enabled server infrastructure
         using the CloudLink server software application to produce the information produced by the Huawei DNS
         servers to provide access to the communication networks, the servers, the services, and/or the other resources
         associated with the Huawei CloudLink-enabled server infrastructure to exchange a message or setup and
         initiate a CloudLink call and/or to communicate the call session information produced by the Huawei
         CloudLink-enabled Calling servers to provide access to exchange a message or setup and initiate a
         CloudLink call, wherein the information produced to provide access to the Huawei Cloud Meeting Callings
         System is based on a location associated with the mobile telephone, are examples of producing an access
         code identifying a communication channel based on said location identifier and/or based on a location pre-
         associated with the mobile telephone as set forth in this element.

21
                                Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 110 of 127

                                                                 CHART C

     [30b-2] said access code       The Huawei CloudLink Calling System produces an access code, said access code being different from the
     being different from the       callee identifier. In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled
     callee identifier and          server infrastructure includes and/or performs this element using the CloudLink server software application
                                    to provide setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video
                                    calls) communication to and from supported devices using the CloudLink client software applications.


                                    In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
                                    uses the CloudLink server software application to produce (or cause to be produced) one or more parts,
                                    portions, and/or combinations of information associated with the access code reply message, such as an
                                    access code as set forth in element [30b-1]. For example, the Huawei CloudLink-enabled server
                                    infrastructure uses the CloudLink server software application to produce (or cause to be produced) the parts,
                                    portions, and/or combinations of information associated with the access code reply message (and the access
                                    code) using one or more access servers associated with the Huawei CloudLink-enabled server infrastructure:
                                       •   In one or more operations associated with producing an access code, the Huawei CloudLink-enabled
                                           server infrastructure uses the CloudLink server software application to produce (or cause to be
                                           produced) one or more communications and/or a combination of communications associated with one
                                           or more of the Huawei DNS servers. In the Huawei CloudLink Calling System, for example, the
                                           Huawei DNS servers produce at least one DNS reply that identifies the IP network addresses
                                           associated with one or more geographically situated Huawei CloudLink-enabled Calling servers using
                                           one or more domain names associated with the Huawei CloudLink-enabled server infrastructure. The
                                           IP network addresses associated with one or more geographically situated Huawei CloudLink-enabled
                                           Calling servers are different from the callee identifier as set forth in element [30a-2].



22
                                Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 111 of 127

                                                                  CHART C
                                        •   Furthermore, in the Huawei CloudLink Calling System, for example, the geographically situated
                                            Huawei CloudLink-enabled Calling servers produce the call session information to identify, to the
                                            caller’s mobile telephone, the Huawei CloudLink-enabled Calling servers as geographically situated
                                            with respect to the caller’s mobile telephone using the IP network addresses associated with the
                                            geographically situated Huawei CloudLink-enabled Calling servers. In the Huawei CloudLink Calling
                                            System, for example, the geographically situated Huawei CloudLink-enabled Calling servers produce
                                            call session information that is different from the callee identifier as set forth in element [30a-2].


                                    Individually or in combination with other information, the Huawei CloudLink-enabled server infrastructure
                                    using the CloudLink server software application to produce the information by the Huawei DNS servers to
                                    provide access to the communication networks, the servers, the services, and/or the other resources associated
                                    with the Huawei CloudLink-enabled server infrastructure to exchange a message or setup and initiate a
                                    CloudLink call and/or the information by the Huawei CloudLink-enabled Calling servers to provide access to
                                    the Huawei server infrastructure to exchange a message or setup and initiate a CloudLink call, are examples
                                    of producing an access code, said access code being different from the callee identifier as set forth in this
                                    element.


     [30b-3] useable by the         The Huawei CloudLink Calling System produces an access code, said access code useable by the mobile
     mobile telephone to initiate a telephone to initiate a call to the callee using the channel. In the Huawei CloudLink Calling System, for
     call to the callee using the   example, the Huawei CloudLink-enabled server infrastructure includes and/or performs this element using
     channel, and                   the CloudLink server software application to provide setup, routing, and delivery of non-real time (e.g.,
                                    messages) and real time (e.g., voice and video calls) communication to and from supported devices using the
                                    CloudLink client software applications.



23
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 112 of 127

                                      CHART C
         For example, the Huawei CloudLink-enabled server infrastructure uses the CloudLink server software
         application to produce (or cause to be produced) one or more parts, portions, and/or combinations of
         information associated with the access code reply message, such as an access code as set forth in element
         [30b-1]. In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server
         infrastructure uses the CloudLink server software application to produce (or cause to be produced) the parts,
         portions, and/or combinations of information associated with the access code reply message (and the access
         code) using one or more access servers associated with the Huawei CloudLink-enabled server infrastructure:
            •   In one or more operations associated with producing an access code, the Huawei CloudLink-enabled
                server infrastructure uses the CloudLink server software application to produce (or cause to be
                produced) one or more communications and/or a combination of communications associated with one
                or more of the Huawei DNS servers. In the Huawei CloudLink Calling System, for example, the
                Huawei DNS servers produce at least one DNS reply that identifies the IP network addresses
                associated with one or more geographically situated Huawei CloudLink-enabled Calling servers using
                one or more domain names associated with the Huawei CloudLink-enabled server infrastructure. In
                the Huawei CloudLink Calling System, for example, the IP network addresses associated with one or
                more geographically situated Huawei CloudLink-enabled Calling servers are useable by the mobile
                telephone to initiate a call to the callee using the channel.
            •   In one or more operations associated with producing an access code, the Huawei CloudLink-enabled
                server infrastructure uses the CloudLink server software application to produce (or cause to be
                produced) one or more communications and/or a combination of communications associated with one
                or more of the geographically situated Huawei CloudLink-enabled Calling servers identified by the
                Huawei DNS servers. For example, the geographically situated Huawei CloudLink-enabled Calling
                servers produce the call session information to identify, to the caller’s mobile telephone, the Huawei
                CloudLink-enabled Calling servers as geographically situated with respect to the caller’s mobile

24
                             Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 113 of 127

                                                                CHART C
                                          telephone using the IP network addresses associated with the geographically situated Huawei
                                          CloudLink-enabled Calling servers. For example, the geographically situated Huawei CloudLink-
                                          enabled Calling servers produce the call session information, which may be useable by the mobile
                                          telephone to initiate a call to the callee using the channel.


                                   Individually or in combination with other information, the Huawei CloudLink-enabled server infrastructure
                                   using the CloudLink server software application to produce the information by the Huawei DNS servers to
                                   receive access to the communication networks, the servers, the services, and/or the other resources associated
                                   with the Huawei CloudLink-enabled server infrastructure to exchange a message or setup and initiate a
                                   CloudLink call, and/or producing the information by the Huawei CloudLink-enabled Calling servers, such as
                                   call session information that is useable by the mobile telephone to enable the telephone to receive access to
                                   exchange a message or setup and initiate a CloudLink call, are examples of producing an access code, said
                                   access code being useable by the mobile telephone to initiate a call to the callee using the channel as set forth
                                   in this element.


     [30b-4] wherein said access   The Huawei CloudLink Calling System produces an access code, wherein said access code expires after a
     code expires after a period of period of time. In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server
     time and                      infrastructure includes and/or performs this element using the CloudLink server software application to
                                   provide setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video
                                   calls) communication to and from supported devices using the CloudLink client software applications.


                                   In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
                                   uses the CloudLink server software application to produce (or cause to be produced) one or more parts,
                                   portions, and/or combinations of information associated with the access code reply message, such as an

25
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 114 of 127

                                     CHART C
         access code as set forth in element [30b-1], using one or more access servers associated with the Huawei
         server infrastructure:
            •   In one or more operations associated with producing an access code, the Huawei CloudLink-enabled
                server infrastructure uses the CloudLink server software application to produce (or cause to be
                produced) one or more communications and/or a combination of communications associated with one
                or more of the Huawei DNS servers. In the Huawei CloudLink Calling System, for example, the
                Huawei DNS servers produce at least one DNS reply that identifies the IP network addresses
                associated with one or more geographically situated Huawei CloudLink-enabled Calling servers using
                one or more domain names associated with the Huawei CloudLink-enabled server infrastructure. In
                the Huawei CloudLink Calling System, for example, the DNS query includes a time-to-live (TTL)
                value. The Huawei DNS servers, for example assign, the TTL value to the DNS reply messages
                resolving various information (such as IP network addresses) that facilitate communication with the
                communication networks, the servers, the services, and/or the other resources associated with the
                Huawei CloudLink-enabled server infrastructure. The TTL values assigned to at least one DNS reply
                message, identifying one or more IP network addresses associated with the Huawei CloudLink-
                enabled Calling servers, indicating that the validity of the responses identifying or resolving the IP
                network addresses associated with the Huawei Calling servers expires after a period of time.
            •   In one or more operations associated with producing an access code, the Huawei CloudLink-enabled
                server infrastructure uses the CloudLink server software application to produce (or cause to be
                produced) one or more communications and/or a combination of communications associated with one
                or more of the geographically situated Huawei CloudLink-enabled Calling servers identified by the
                Huawei DNS servers. For example, the geographically situated Huawei CloudLink-enabled Calling
                servers produce call session information to identify, to the caller’s mobile telephone, the Huawei
                CloudLink-enabled Calling servers as geographically situated with respect to the caller’s mobile

26
                              Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 115 of 127

                                                                 CHART C
                                           telephone using the IP network addresses associated with the geographically situated Huawei
                                           CloudLink-enabled Calling servers. For example, the caller’s mobile telephone and the
                                           geographically situated Huawei CloudLink-enabled Calling servers communicate to establish the call
                                           session information, which expires after a period of time. The Huawei CloudLink-enabled Calling
                                           servers assign explicitly and/or implicitly session time to the call session information. The session
                                           time assigned to call session information, indicates that validity of a message or a CloudLink call
                                           expires after a period of time, such as after a predetermined time or at the end of a session.


                                    Individually or in combination with other information, the Huawei CloudLink-enabled server infrastructure
                                    using the CloudLink server software application to produce the information by the Huawei DNS servers to
                                    provide access to the communication networks, the servers, the services, and/or the other resources associated
                                    with the Huawei CloudLink-enabled server infrastructure to exchange a message or setup and initiate a
                                    CloudLink call and/or the information by the Huawei CloudLink-enabled Calling servers to provide access to
                                    exchange a message or setup and initiate a CloudLink call, wherein the information identifying the Huawei
                                    Calling servers and/or the call session time associated with a call session expires after a period of time, are
                                    examples of producing an access code, wherein said access code expires after a period of time as set forth in
                                    this element.


     [30b-5] wherein producing      The Huawei CloudLink Calling System produces an access code, wherein producing said access code
     said access code comprises     comprises selecting said access code from a pool of access codes. In the Huawei CloudLink Calling System,
     selecting said access code     for example, the Huawei CloudLink-enabled server infrastructure includes and/or performs this element
     from a pool of access codes,   using the CloudLink server software application to provide setup, routing, and delivery of non-real time (e.g.,
                                    messages) and real time (e.g., voice and video calls) communication to and from supported devices using the
                                    CloudLink client software applications.

27
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 116 of 127

                                     CHART C

         In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
         uses the CloudLink server software application to produce (or cause to be produced) one or more parts,
         portions, and/or combinations of information associated with the access code reply message, such as an
         access code as set forth in element [30b-1], using one or more access servers associated with the Huawei
         server infrastructure:
            •   In one or more operations associated with producing an access code, the Huawei CloudLink-enabled
                server infrastructure uses the CloudLink server software application to produce (or cause to be
                produced) one or more communications and/or a combination of communications associated with one
                or more of the Huawei DNS servers. In the Huawei CloudLink Calling System, for example, the
                caller’s mobile telephone uses the CloudLink client software application to communicate at least one
                DNS query asking the Huawei DNS servers for the IP network addresses associated with the Huawei
                CloudLink-enabled Calling servers geographically situated relative to the caller’s mobile telephone
                based on the location of the caller’s mobile telephone. In the Huawei CloudLink Calling System, for
                example, one or more domain names and one or more blocks of IP network addresses owned by
                Huawei and used by the CloudLink client software application used to obtain the IP network
                addresses associated with the geographically situated Huawei CloudLink-enabled Calling servers are
                set forth in Appendix A. In the Huawei CloudLink Calling System, for example, the caller’s mobile
                telephone uses the CloudLink client software application to seek one or more IP network addresses
                associated with the geographically situated Huawei CloudLink-enabled Calling servers from the
                blocks of IP network addressed owned by Huawei. Each IP network address associated with the
                blocks of IP network addressed owned by Huawei identifies a respective telephone number or Internet
                Protocol (IP) network address that enables a local call to be made to call the callee identified by the
                callee identifier.

28
                              Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 117 of 127

                                                               CHART C
                                      •   In one or more operations associated with producing an access code, the Huawei CloudLink-enabled
                                          server infrastructure uses the CloudLink server software application to produce (or cause to be
                                          produced) one or more communications and/or a combination of communications associated with one
                                          or more of the geographically situated Huawei CloudLink-enabled Calling servers identified by the
                                          Huawei DNS servers. In the Huawei CloudLink Calling System, for example, the caller’s mobile
                                          telephone and the geographically situated Huawei CloudLink-enabled Calling servers communicate to
                                          establish the call session information. In the Huawei CloudLink Calling System, for example, the
                                          caller’s mobile telephone uses the CloudLink client software application to seek one or more IP
                                          network addresses associated with the geographically situated Huawei CloudLink-enabled Calling
                                          servers from the blocks of IP network addressed owned by Huawei to establish the call session
                                          information.


                                   Individually or in combination with other information, the Huawei CloudLink-enabled server infrastructure
                                   using the CloudLink server software application to produce the information by the Huawei DNS servers to
                                   provide the mobile telephone with access to the communication networks, the servers, the services, and/or the
                                   other resources associated with the Huawei CloudLink-enabled server infrastructure to exchange a message
                                   or setup and initiate a CloudLink call and/or to produce the information by the Huawei CloudLink-enabled
                                   Calling servers to provide the mobile telephone with access to exchange a message or setup and initiate a
                                   CloudLink call, wherein the information produced to provide access to the Huawei Cloud Meeting Calling
                                   System is selected from a pool, are examples of producing an access code, wherein producing said access
                                   code comprises selecting said access code from a pool of access codes as set forth in this element.


     [30b-6] wherein each access   The Huawei CloudLink Calling System produces an access code, wherein each access code in said pool of
     code in said pool of access   access codes identifies a respective telephone number or Internet Protocol (IP) network address. In the

29
                               Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 118 of 127

                                                                  CHART C
     codes identifies a respective   Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
     telephone number or Internet includes and/or performs this element using the CloudLink server software application to provide setup,
     Protocol (IP) network           routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice and video calls)
     address; and                    communication to and from supported devices using the CloudLink client software applications.


                                     In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
                                     uses the CloudLink server software application to produce (or cause to be produced) one or more parts,
                                     portions, and/or combinations of information associated with the access code reply message, such as an
                                     access code as set forth in element [30b-1], using one or more access servers associated with the Huawei
                                     server infrastructure:
                                        •   In one or more operations associated with producing an access code, the Huawei CloudLink-enabled
                                            server infrastructure uses the CloudLink server software application to produce (or cause to be
                                            produced) one or more communications and/or a combination of communications associated with one
                                            or more of the Huawei DNS servers. In the Huawei CloudLink Calling System, for example, the
                                            caller’s mobile telephone uses the CloudLink client software application to communicate at least one
                                            DNS query asking the Huawei DNS servers for the IP network addresses associated with the Huawei
                                            CloudLink-enabled Calling servers geographically situated relative to the caller’s mobile telephone
                                            based on the location of the caller’s mobile telephone. In the Huawei CloudLink Calling System, for
                                            example, one or more domain names and one or more blocks of IP network addresses owned by
                                            Huawei and used by the CloudLink client software application used to obtain the IP network
                                            addresses associated with the geographically situated Huawei CloudLink-enabled Calling servers are
                                            set forth in Appendix A. In the Huawei CloudLink Calling System, for example, the caller’s mobile
                                            telephone uses the CloudLink client software application to seek one or more IP network addresses
                                            associated with the geographically situated Huawei CloudLink-enabled Calling servers from the

30
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 119 of 127

                                     CHART C
                blocks of IP network addressed owned by Huawei. Each IP network address associated with the
                blocks of IP network addressed owned by Huawei identifies a respective telephone number or Internet
                Protocol (IP) network address that enables a call to be made to call the callee identified by the callee
                identifier.
            •   In one or more operations associated with producing an access code, the Huawei CloudLink-enabled
                server infrastructure uses the CloudLink server software application to produce (or cause to be
                produced) one or more communications and/or a combination of communications associated with one
                or more of the geographically situated Huawei CloudLink-enabled Calling servers identified by the
                Huawei DNS servers. In the Huawei CloudLink Calling System, for example, the caller’s mobile
                telephone and the geographically situated Huawei CloudLink-enabled Calling servers communicate to
                establish the call session information. For example, the caller’s mobile telephone uses the CloudLink
                client software application to seek one or more IP network addresses associated with the
                geographically situated Huawei CloudLink-enabled Calling servers from the blocks of IP network
                addressed owned by Huawei to establish the call session information.


         Individually or in combination with other information, the Huawei CloudLink-enabled server infrastructure
         using the CloudLink server software application to produce the information by the Huawei DNS servers to
         provide access to the communication networks, the servers, the services, and/or the other resources associated
         with the Huawei CloudLink-enabled server infrastructure to exchange a message or setup and initiate a
         CloudLink call and/or the information by the Huawei CloudLink-enabled Calling servers to provide access to
         exchange a message or setup and initiate a CloudLink call, wherein the information for providing the mobile
         telephone with access to the Huawei Cloud Meeting Calling system represents or identifies a telephone
         number and/or IP address, are examples of producing an access code, wherein each access code in said pool



31
                                Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 120 of 127

                                                                 CHART C
                                    of access codes identifies a respective telephone number or Internet Protocol (IP) network address as set forth
                                    in this element.


     [30c] transmitting an access   The Huawei CloudLink Calling System transmits an access code reply message including said access code,
     code reply message             to the mobile telephone. In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-
     including said access code,    enabled server infrastructure includes and/or performs this element using the CloudLink server software
     to the mobile telephone.       application to provide setup, routing, and delivery of non-real time (e.g., messages) and real time (e.g., voice
                                    and video calls) communication to and from supported devices using the CloudLink client software
                                    applications.


                                    In the Huawei CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure
                                    uses the CloudLink server software application to obtain (or cause to be obtained) the access code request
                                    message associated with the caller’s mobile telephone as set forth in elements [30a et seq]. The Huawei
                                    CloudLink Calling System, for example, the Huawei CloudLink-enabled server infrastructure uses the
                                    CloudLink server software application to produce (or cause to be produced) the access code as set forth in
                                    elements [30b et seq]. For example, the Huawei CloudLink-enabled server infrastructure uses the CloudLink
                                    server software application to communicate (or cause to be communicated) to the caller’s mobile telephone
                                    one or more parts, portions, and/or combinations of information associated with an access code reply
                                    message, using one or more means of direct and/or indirect communications and/or a combination of
                                    communications to the caller’s mobile telephone to implement one or more access servers of the Huawei
                                    server infrastructure:
                                       •   In one or more communications and/or a combination of communications associated with transmitting
                                           an access code reply message, the Huawei CloudLink-enabled server infrastructure uses the
                                           CloudLink server software application to communicate (or cause to be communicated) the

32
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 121 of 127

                                    CHART C
               communications and/or the combination of communications associated with one or more of the
               Huawei DNS servers. In the Huawei CloudLink Calling System, for example, the Huawei DNS
               servers provide access to the communication networks, the servers, the services, and/or the other
               resources associated with the Huawei CloudLink-enabled server infrastructure, and/or the Huawei
               server infrastructure provides access to exchange a message or setup and initiate a CloudLink call. In
               the Huawei CloudLink Calling System, for example, the information produced by the Huawei DNS
               servers to provide access to the communication networks, the servers, the services, and/or the other
               resources associated with the Huawei CloudLink-enabled server infrastructure includes and/or is
               communicated using one or more packets produced (or caused to be produced) by the Huawei DNS
               servers, including, for example, one or more DNS replies that respond to the DNS queries associated
               with the caller’s mobile telephone by providing the mobile telephone with one or more IP network
               addresses associated with Huawei CloudLink-enabled Calling servers geographically situated relative
               to the caller’s mobile telephone based on the location of the caller’s mobile telephone. In the Huawei
               CloudLink Calling System, for example, the Huawei DNS servers communicate at least one DNS
               reply that identifies the IP network addresses associated with one or more geographically situated
               Huawei CloudLink-enabled Calling servers using one or more domain names associated with the
               Huawei CloudLink-enabled server infrastructure. For example, the Huawei DNS servers
               communicate at least one DNS reply identifying, to the caller’s mobile telephone, one or more
               Huawei CloudLink-enabled Calling servers that are geographically situated with respect to the
               caller’s mobile telephone (e.g., via identifying the IP network addresses associated with the
               geographically situated Huawei CloudLink-enabled Calling servers), based on the geographic location
               associated with the caller’s mobile telephone. Additionally, the Huawei DNS servers, for example,
               identify the geographically situated Huawei CloudLink-enabled Calling servers to the caller’s mobile
               telephone as having one or more communications channels through which communications between

33
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 122 of 127

                                     CHART C
                the caller’s mobile telephone and the callee’s mobile telephone can be conducted (e.g., via identifying
                the IP network addresses associated with the geographically situated Huawei CloudLink-enabled
                Calling servers).
            •   In one or more communications and/or a combination of communications associated with transmitting
                an access code reply message, the Huawei CloudLink-enabled server infrastructure uses the
                CloudLink server software application to communicate (or cause to be communicated)
                communication(s) associated with one or more of the Huawei CloudLink-enabled Calling servers. For
                example, the Huawei CloudLink-enabled Calling servers provides access to exchange messages
                (including chats, group chats, images, videos, voice messages and files) and make CloudLink calls
                (voice and video), and the Huawei Calling servers communicate call session information associated
                with the communications and/or the combination of communications to provide access to exchange
                messages and make CloudLink calls. In the Huawei CloudLink Calling System, for example, the call
                session information produced by the Huawei CloudLink-enabled Calling servers to provide access to
                exchange messages and make CloudLink calls includes and/or is communicated using one or more
                packets produced (or caused to be produced) by the Huawei CloudLink-enabled Calling servers. The
                packets may include call session information associated with the Huawei CloudLink-enabled Calling
                servers in response to a request for call session information associated with the caller’s mobile
                telephone. The call session information associated with the Huawei CloudLink-enabled Calling
                servers includes the IP network addresses associated with the geographically situated Huawei
                CloudLink-enabled Calling servers. The geographically situated Huawei CloudLink-enabled Calling
                servers may communicate the call session information to identify, to the caller’s mobile telephone, the
                Huawei Calling servers as geographically situated with respect to the caller’s mobile telephone using
                the IP network addresses associated with the geographically situated Huawei CloudLink-enabled
                Calling servers. In the Huawei CloudLink Calling System, for example, the geographically situated

34
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 123 of 127

                                      CHART C
                Huawei CloudLink-enabled Calling servers communicate the call session information based on the
                geographic location associated with the caller’s mobile telephone, and, additionally, communicate the
                call session information to identify, to the caller’s mobile telephone, one or more communications
                channels through which communications between the caller’s mobile telephone and the callee’s
                mobile telephone can be conducted.


         Individually or in combination with other information, the Huawei CloudLink-enabled server infrastructure
         using the CloudLink server software application to communicate the information produced by the Huawei
         DNS servers to provide access to the communication networks, the servers, the services, and/or the other
         resources associated with the Huawei CloudLink-enabled server infrastructure to exchange a message or
         setup and initiate a CloudLink call and/or to communicate the call session information produced by the
         Huawei CloudLink-enabled Calling servers to provide access to exchange a message or setup and initiate a
         CloudLink call, are examples of transmitting an access code reply message including said access code, to the
         mobile telephone as set forth in this element.


         The Huawei CloudLink Calling System enables mobile telephone roaming as described in the ‘234 Patent
         and defined in claim 30, literally and/or under the doctrine of equivalents. The Huawei CloudLink Calling
         System uses access code request/response messages to produce an access code useable by the mobile
         telephone to initiate a call to a callee. In the Huawei CloudLink Calling System, the access code is based on a
         location identifier and/or based on a location pre-associated with the mobile telephone. The access code,
         alone or in combination with other information for example, identifies an IP address associated with one or
         more Huawei CloudLink-enabled Calling servers having a communication channel through which the caller’s
         mobile telephone may initiate a CloudLink call. In the Huawei CloudLink Calling System, an access code
         comprises information or a combination of information, such as one or IP addresses associated with one or

35
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 124 of 127

                                      CHART C
         more Huawei CloudLink-enabled Calling servers (having communication channels for CloudLink calls
         between mobile telephones) and/or call session information provided by the Huawei CloudLink-enabled
         Calling servers that enables a call to be made to a callee. The communications channels also can connect the
         caller’s mobile telephone with other devices using telephone lines in a Public Switched Telephone Network
         (PSTN). The Huawei CloudLink-enabled Calling servers can direct calls that are received on the
         communications channels to a gateway leading to the PSTN. The Huawei CloudLink-enabled Calling servers
         use the communications channels to cooperate with an IP network and the gateway to the PSTN to cause a
         call involving the caller’s mobile telephone to be routed through the IP network and continue to the PSTN.
         The communication channels provided by the Huawei CloudLink-enabled Calling servers may provide the
         benefit of callers placing calls to the PSTN at either no additional charge or at a lower additional charge than
         would be otherwise required. Furthermore, where calls may be placed by callers to the IP network
         transmission times over the IP network.




36
                                  Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 125 of 127

                                                                       CHART C
                                                                       APPENDIX A

       In the Huawei CloudLink Calling System, Huawei purposefully caused or encouraged infringement using Huawei CloudLink to produce an
access code based on a location identifier and/or based on a location pre-associated with a mobile telephone and which is used by the Huawei
CloudLink-enabled server infrastructure to initiate a call as described in the ‘234 Patent and defined in the asserted claims, literally and/or using the
doctrine of equivalents.

       In the Huawei CloudLink Calling System, for example, Huawei actively encourages and enables users of Huawei CloudLink on the Huawei
website through one or more electronic storefronts to purchase and use Huawei CloudLink. Huawei actively encourages and enables users of Huawei
CloudLink on the Huawei website through one or more support articles to configure and use Huawei CloudLink in the US. Huawei actively
encourages and enables users of Huawei CloudLink through one or more support articles to configure and use Huawei devices to make calls between
public and private networks, between headquarters and branch offices, even across enterprises as described in the ‘234 Patent and defined in the
asserted claims, literally and/or using the doctrine of equivalents.

       A=Intentional Encouragement - Specific Instructions On How To Use Accused Feature

       B=Purposeful Causation -Pre-installed Applications That Will Cause Some Users To Infringe

     Category      Third-Party                  Description/URL
 1. A,B            Enterprise users             Title: Huawei CloudLink Video Conferencing Platform


                                                The Huawei CloudLink Video Conferencing Platform — incorporating multi-architecture computing,
                                                converged media types, and open data — provides customers with built-in video applications, a video
                                                sharing platform, and easy enablement services. In sum, the platform brings about a digital revolution
                                                to working environments.




37
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 126 of 127

                                    CHART C
               With 4K Ultra-High-Definition (UHD) video and audio, the dedicated video conferencing platform
               supercharges intelligence, capacity, security, reliability, and Operations and Maintenance (O&M). It
               efficiently connects a wide range of scenarios — thanks to fully converged architecture — delivering
               a high-end, supercharged video conferencing experience for users.




38
     Case 6:21-cv-01247-ADA Document 1-3 Filed 11/30/21 Page 127 of 127

                                   CHART C




               https://e.huawei.com/en/solutions/enterprise-collaboration/videoconferencing-platform




39
